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IN THE UNITED STATES DISTRICT COURT

 

 

DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )

Plaintiff, )
Vv. Case No. 21-cr-00003 (RCL)
JACOB ANTHONY CHANSLEY,

Defendant.

MOTION OF DEFENDANT, JACOB ANTHONY CHANSLEY, FOR
PRETRIAL RELEASE
“A lie can travel half way around i world bole the truth is putting on its shoes.”
INTRODUCTION

COMES NOW Defendant, Jacob Anthony Chansley, by and through his undersigned

counsel, and for his Motion for Pretrial Release, states to the Court as follows:

1. The Eighth Amendment to the United States Constitution provides that “[e]xcessive bail
shall not be required...” U.S. Const. Amend. VIII.

2. The United States Supreme Court has interpreted this amendment to prohibit the
imposition of excessive bail without creating a right to bail in criminal cases. See United States
v. Salerno, 481 U.S. 739,754-55 (1987)(“eighth amendment does not grant absolute right to
bail”).

3. The subject of bail and detention also implicates the Fourteenth Amendment’s Due
Process Claus, and requires that laws imposing pretrial detention “serve a compelling
governmental interest”, Salerno, 481 U.S. at 752, and “The Due Process Clause of the Fifth
Amendment.” See United States v. Ailemen, 165 F.R.D. 571, 577 (N.D.Cal. 1996)(internal

citations omitted).
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4. In federal criminal proceedings, release and detention determinations are governed by the
Bail Reform Act of 1984. 18 U.S.C. §§ 3141-3156 (1990). These sections contain specific
guidelines that “judicial officers” must follow in considering whether a defendant should be
detailed or released pending federal criminal proceedings.

5. Title 18, United States Code, Section 3141(a) gives "judicial officers" authority to make
determinations regarding bail in all stages of a criminal case, up to and including the trial
stage. The term "judicial officers" is defined in Title 18, United States Code, Section 3156,
along with other terms relevant to the matter of bail in criminal cases.

6. Title 18, United States Code, Sections 3152 through 3154 pertain to the administration
and the supervision authority of pretrial services officers in the federal criminal system. Section
3154 specifically empowers pretrial services officers with the authority to collect information
from defendants and other sources relative to the matter of bail.

7. Pretrial services officers are authorized to make recommendations as to whether a
defendant should be detained or released, including specific recommendations regarding
conditions of release. 18 U.S.C. § 3154(1). Pretrial services officers are also authorized to
establish facilities for and conduct the supervision of defendants released under the
provisions of Section 3142.

8. Title 18, United States Code, Section 3142 defines the categories of "release and
detention" a defendant may be subject to and contains the rules under which the court and
parties must proceed relating to bail matters. In that regard, Section 3142(a) states "that upon
the appearance before a judicial officer of a person charged with an offense, the judicial
officer shall make a determination regarding bail status of the defendant, and shall enter an

order designating a defendant's custodial status" under one of four
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categories:
1, released on personal recognizance or upon execution of an unsecured appearance bond
(following the provisions of Section 3142(b));

2. released on a condition or combination of conditions as defined by Section 3142(c);

3, temporarily detained to permit revocation of conditional release, deportation, or
exclusion under Section 3142(d); or

4. detained pursuant to the provisions of Section 3142(e).

9. Title 18, United States Code, Section 3142(b) requires a judicial officer to order the
pretrial release of a defendant on "personal recognizance" or upon the defendant's execution
of an "unsecured appearance bond" in an amount specified by the court. A Section 3142(b)
release order must be conditioned on a defendant's agreement to "not commit a Federal, State,
or local crime during the period of release." If, however, the judicial officer determines that
the release of a defendant on "personal recognizance" or "unsecured appearance bond" would
not "reasonably assure" the defendant's appearance at court proceedings, or will "endanger
the safety of any other person or the community", then there is no obligation to order release.
18 U.S.C.

§§ 3142(b) and 3142(c). In this event, the judicial officer must follow the provisions of Title
18, United States Code, Section 3142(c).

10. Once a judicial officer has made the determination that a defendant does not qualify for
release under Section 3142(b), then the judicial officer must follow Section 3142(c). When
structuring the release of a defendant under Section 3142(c), the judicial officer must order
that the defendant "not commit a Federal, State, or Local crime during the period of release. 18

USS.C. § 3142(c)(1) (A). In addition, the judicial officer must impose the least restrictive
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condition or combination of conditions necessary to "reasonably assure" the defendant's
appearance as required and to "reasonably assure" the safety of any person and the
community". 18 U.S.C. § 3142(c)(1)(B). An illustrative list of conditions is set forth in §
3142(c)(1)(B)G through xiv) which gives the judicial officer authority to impose conditions not
specifically enumerated so long as the same serve the purposes set out in § 3142(c)(1)(B). It is
important to note that "Section 3142 speaks only of conditions that will "reasonably" assure
appearance, not guarantee it". United States v. Xulum, 84 F.3d 441, 443 (D.C. Cir. 1996)(per
curiam). A judicial officer is not permitted to impose any financial conditions of release
which result in the pretrial detention of a defendant. 18 U.S.C. § 3142(c)(2). The conditions of
release imposed on a defendant under a Section 3142(c) order may be amended at any time to
impose additional or different conditions of release. 18 U.S.C. § 3142(c)(3).

11. When making a determination regarding the eligibility of a defendant for pretrial release
(whether personal recognizance , unsecured appearance bond, or release on conditions), the
judicial officer must consider the factors listed in Section 3142(g), including:

1. the nature and circumstances of the offense (in particular whether it is an offense
which is violent or nonviolent in nature, or involves narcotics);
2. the weight of the evidence against the person;
3. the history and characteristics of the person --
A. character -- including physical and mental condition), family ties, employment,
financial resources, length of time in the community, community ties, past conduct
history relating to drug or alcohol abuse, criminal history, record of court

appearances; and
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B. whether, at the time of the current offense or arrest, the person was on probation,
on parole, or on other release pending trial, sentencing, appeal, or completion of
sentence for an offense under Federal, State, or local law; and

4. the nature and seriousness of the danger to any person or to the community that would
be posed by the person's release.
CASE HISTORY

12. On January 6, 2021, the Defendant was part of tens of thousands of individuals who
walked from The Ellipse in Washington, DC, down Pennsylvania Avenue to the Capitol
Building. Defendant, Jacob Chansley, thereafter entered into the Capitol Building.

13. On January 7, 2021, after returning to his hometown of Phoenix, Arizona, the Defendant
was advised Federal law enforcement sought to speak with him. On that same day, January 7,
2021, the Defendant called the Washington Field Office of the Federal Bureau of Investigation
and requested to speak with law enforcement. The Defendant was immediately and fully
forthcoming, confessing that he was the man photographed in the Capitol adorned by horns in a
fashion consistent with his Shaman faith.

14. At the request of Federal law enforcement authorities, on January 9, 2021, the Defendant
voluntarily appeared at the Phoenix FBI Field Office to continue his interview with Federal law
enforcement authorities.

15. Again, the Defendant spoke transparently, honestly and with candor. He did so without
hesitation or legal trepidation of any nature. He did so without legal counsel.

16. At that time, the Defendant exhibited a high degree of cooperation with the FBI, granting

them permission to inspect his car which contained his Shaman attire, inclusive of his horns,
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head dress, face paint, tan pants, flag pole, and bull horn. He did so possessed of the genuine
belief he had done nothing wrong.

17. The Defendant was then peacefully taken into custody. On January 11, 2021, a Federal
Grand Jury indicted the Defendant. The Indictment charged the Defendant with two (2) Felonies
and four (4) Misdemeanors, all arising out of the January 6, 2021 appearance of the Defendant at
the U.S. Capitol Building in Washington, DC, all sounding in trespass.

18. Thereafter, legal counsel was appointed to represent the Defendant herein. A Detention
Hearing was conducted by a Magistrate Judge in the U.S. District Court for the District of
Arizona on January 15, 2021. The record reflects what might best be described as a modest
overture for the pre-trial release of Defendant. Given the absence of details about the Defendant
and temporal circumstances vis-a-vis the then-as-yet inauguration of president Biden, this was
not imprudent.

19. During the Detention Hearing, the Government argued that further detention of the
Defendant was necessary by virtue of the commission of the charged offenses by the Defendant
employing of a “dangerous weapon,” a description which required characterization of the
flagpole held by the Defendant on January 6, 2021 as a “spear.”

20. Further, the Government characterized the Defendant as being a serious flee risk; and a
serious risk of prospectively obstructing or attempting to obstruct justice.

21. At the Detention Hearing, the Government also characterized the Defendant as posing an
ongoing danger to the community that no conditions of pretrial release can mitigate.

22. A Magistrate Judge in the U.S. District Court in Phoenix, Arizona addressed the initial
Detention Hearing in connection with the present matter prior to the inauguration of President

Joseph Biden. The Magistrate Judge ruled that given the totality of the circumstances, the
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Defendant’s Request for Pre-Trial Release should be denied. This denial is a matter of record
herein.

23. Since that time, a number of significant developments have occurred and a number of
significant facts have come to light, all of which render appropriate the pre-trial release of
Defendant.

24. First, the inauguration of President Biden as the 46" President of the United States took
place on January 20, 2021. President Biden has been duly seated and has assumed the duly
elected position of President of the United States.

25. The Defendant was thereafter transferred physically by the U.S. Bureau of Prisons from
Phoenix, Arizona to Washington, DC to be held in the District of Columbia Department of
Corrections (“DC DOC”).

26. On January 29, 2021, this Court heard the Defendant’s Emergency Motion for
Sustenance, entering an Order directing the DC DOC to serve Defendant organic food,
presenting the Court the opportunity to see a hear from the Defendant.

27. In short order thereafter, the DC DOC confirmed with this Court an inability to comply
with the Order of the Court relative to diet protocols and the Defendant was thereafter promptly
relocated to another custodial facility in Alexandria, Virginia.

28. As aresult of the changes in the physical location in which the Defendant has been held,
the establishment of a smooth and open line of ongoing communication required to be in place
by and between Defendant and his counsel has been, at best, cumbersome and spotty.

COVID-19
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29. The COVID-19 protocols in place at each facility at which Defendant has been housed
differ and have further exacerbated the ability of Defendant to access and speak meaningfully in
an un-monitored fashion with his counsel.

30. While the cumbersome nature of the line of communication between the Defendant and
his counsel has improved, the temporal and geographic limitations which exist with respect to
said communication are such that the requisite protracted meaningful un-monitored consultation
by Defendant with his counsel has been rendered impossible, especially given the scope and the
breadth of the undertakings required to be discussed by Defendant with his counsel to permit a
meaningful decision to be made by the Defendant, from a position of knowledge, with respect to
a host of matters of importance arising out of, relating to and touching upon Federal Sentencing
Guidelines and salient provisions therein.

31. By virtue of COVID-19, and not for reasons relating to the actions of the Defendant, the
Defendant has been held in solitary confinement for the entirety of the duration of his period of
custody since voluntarily surrendering himself in Phoenix, Arizona.

32. The Defendant has made known his Shamanic beliefs and his faith as an active practicing
Shaman.

33. Defendant’s longstanding status as a practicing Shaman precludes him from feeding into
his body any vaccination. This belief first surfaced as an issue during Defendant’s service in the
U.S. Armed Forces on the USS Kittyhawk for approximately two (2) years. The Defendant’s
service on the Kittyhawk was terminated by virtue of the Defendant’s refusal to be vaccinated
for anthrax. It should be noted, the Defendant was honorably discharged from the U.S. Military

thereafter.
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34. The World Health Organization characterizes COVID-19 as a pandemic. Recent
discovery of a number of variants thereof have given rise to the determination that the variants
are of heightened contagiousness and, and with respect to specific variants, of heightened
severity.

35. On March 13, 2020, the United States officially declared a national emergency due to the
virus. The national emergency continues to this date. Defendant requests judicial notice thereof

be taken by the Court.
ROLE OF FORMER PRESIDENT TRUMP

36. During the original detention hearing in Phoenix, Arizona, the Magistrate Judge found
that detention of the Defendant was appropriate and found that the Defendant failed to rebut the
presumption that he is a danger to society and is a flight risk. As noted, rebuttal in this regard
was modest.

37. Since the Detention Hearing, the Government has had added time in which to move
forward with a wide range of investigations in to the events surrounding, giving rise to and of
January 6, 2021.

38. Necessarily, as part of the requisite context for the disclosure of the developments,
review of the specific words spoken by then-President Donald Trump to, among hundreds of
thousands of others, the Defendant, on January 6, 2021 is vital. A published transcript of the
words spoken by then-President Trump are attached hereto, incorporated herein by reference,
and marked Exhibit A.

39. Following the events of January 6, 2021, an Article of Impeachment was passed by the
U.S. House of Representatives, a true and correct copy of which is attached hereto, incorporated

herein by reference, and marked Exhibit B. The substance of the Article of Impeachment is the

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assertion that the then-President Trump, by and through his actions and words over a period of
time incited those who walked down Pennsylvania Avenue to and into the U.S. Capitol Building
on January 6, 2021. The Defendant is one of the individuals who was incited.

40. Since the outset of his interaction with Federal law enforcement following the events of
January 6, 2021, the Defendant has been consistent in his assertion that but for the actions and
the words of the President, he would not have appeared in Washington, DC to support the
President and, but for the specific words of the then-President during his January 6, 2021 speech,
the Defendant would not have walked down Pennsylvania Avenue and would not have gone into

the U.S. Capitol Building.

PARDON REQUEST

41. Following engagement of the undersigned counsel, on January 14, 2021, the Defendant,
by and through his counsel, reached out to the then-White House Chief of Staff, Mark Meadows,
to confirm a request on behalf of the Defendant for a Presidential pardon of the Defendant and
other peaceful individuals who accepted the President’s invitation to go to the Capitol.
Concurrently, a release was published and the pardon request was widely reported.

42. Thereafter, following the cessation of the term of former President Trump as President,
and after the Defendant noted former president Trump’s pardoning of his friends and colleagues
and Lil’ Wayne, the Defendant was compelled to reconcile his prior faith in former President

Trump with the actions and words of former President Trump.

DEFENDANT’S OFFER TO TESTIFY AT IMPEACHMENT TRIAL

43. The Defendant widely communicated his availability to testify at the impeachment trial

of President Trump. While the impeachment trial did not ultimately require the testimony of the

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Defendant herein and, indeed, the Defendant was not asked to testify, the reported fundamental
proposition that the Defendant, and others, heeded the words of the President to come to

Washington, DC and, further, heeded the invitation of the President to walk down Pennsylvania
Avenue and go to the Capitol, were specifically noted on the floor of the U.S. Senate during the

impeachment trial.
DEFENDANT’S PUBLIC APOLOGY

44. On February 8, 2021, the Defendant released a statement which evidences the
Defendant’s introspection, accountability and responsibility for his actions on January 6, 2021.
The globally-reported statement of the Defendant issued on February 8, 2021 reads as follows:

“My time in jail has permitted me to start to re-analyze my life. I am deeply committed
to Ahimsa, a basic principle of non-violence which applies to all living creatures, large
and small. There is a lot that happened over time which led up to January 6, 2021. [am

working on coming to grips with that.

I am deeply disappointed in former President Trump. He was not honorable. He led a lot
of peaceful people down. T have to leave judging him up to other people.

It is my aim to focus on what is important at this time. What is important is for me to
apologize.

I deeply regret and am very sorry I entered into the Capitol Building on January 6, 2021.
I should not have been there, period.

I am sorry for having aroused fear in the hearts of others, That was wrong period.

Please be patient with me and other peaceful people who, like me, are having a very
difficult time piecing together all that happened to us, around us, and by us. We are good
people who care deeply about our country. I was wrong period.”

45. The foregoing apology of the Defendant was done without consideration for the legal

ramifications of his admission as part of the apology.

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DEFENDANT’S REITERATION OF AVAILABILITY TO TESTIFY AT

IMPEACHMENT TRIAL

46. On February 13, 2021, the U.S. Senate voted to allow witnesses to be called in the
impeachment trial of former President Donald Trump. At that time, the Defendant re-confirmed
his availability and willingness to testify at the impeachment trial.

47. While the decision was ultimately made by the U.S. Senate to not have testimony elicited
from witnesses, the ongoing willingness of the Defendant to assist in this regard was immediate

and unconditional.

IMPEACHMENT TRIAL

48. During the impeachment trial, evidence was presented for world consumption. The
impeachment trial of former President Donald Trump included a video presentation from the
House Impeachment Managers that clearly demonstrated that a large number of those who
traveled down Pennsylvania Avenue and into the U.S. Capitol on January 6, 2021 believed and
understood they were following then-President Trump’s order and directive to do so. In short,
the Defendant, and others in like position, peacefully did what the President told them to do.

49. The impeachment trial demonstrated clearly the many months that were spent by former
President Trump creating fertile ground out of which the January 6, 2021 events blossomed.

50. The impeachment trial demonstrated clearly the actions of former President Donald
Trump to rile up the attendees of the January 6, 2021 speech at The Ellipse. The trial made
specific note of the violent rhetoric employed by then-President Trump during his speech, and
the resulting inciting of tens of thousands of individuals to travel down Pennsylvania Avenue to

and into the U.S. Capitol.

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51. The impeachment trial clearly demonstrated the then-President’s praise of his followers
during and after their entry into the U.S. Capitol.
52. The impeachment trial clearly demonstrated the former President’s encouragement of

violence against public officials.
MISCHARACTERIZATION OF FLAGPOLE

53. As noted during the Detention Hearing conducted by the Magistrate in Phoenix, Arizona,
the Government argued that detention of the Defendant was necessary by virtue of the
commission of the charged offenses by the Defendant employing a “dangerous weapon,” being
the flagpole held by the Defendant. The Government characterized the flagpole as a “spear.”

54. Since the original Detention Hearing, interaction by the Defendant’s counsel with the
Department of Justice, by and through its Assistant U.S. Attorney, has made clear that the flag
carried by the Defendant on January 6, 2021, was adorned with a finial.

55. Specific details were confirmed with the Government that the use of a spear or a finial on
a spear dates to the Native Americans, a fact consistent with the Shamanic faith of the
Defendant.

56. It was further noted for the Government that the U.S. Army uses the spear finial with
open wings on the sides, however, the traditional Native American design only contains the
central point, akin to the Defendant’s flagpole.

57. In fact, in indoor Government Federal Buildings across the country, the national flag and
the state flag all are adorned with finials. Government protocols generally call for the use of an
eagle finial on a national flag and a spear finial on a state flag. These flags are virtually
universally displayed in easily accessible public locations in all Federal Buildings such as to give

rise to the inevitable conclusion that the Government must not be too concerned that a member

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of the public will use the flagpole with an eagle or a spear finial as a weapon, otherwise they
would not employ same across the country in Federal Government Buildings. An image
depicting finials in the Capitol is set forth in the form of a Twitter-distributed image dated
February 9, 2021, a true and correct copy of which is attached hereto, incorporated herein by
reference and marked Exhibit C.

58. A flag finial’s history online brochure is attached hereto for the Court’s ease of reference,

incorporated herein by reference, and marked Exhibit D.
FLIGHT RISK ISSUE

59. The Defendant is 33 years old. He was born in Phoenix, Arizona. He has resided in
Phoenix, Arizona all of this life. The Defendant resides with his mother.

60. The Defendant does not travel internationally. The Defendant does not have and has
never had a Passport. Defendant fluently speaks only English.

61. Save for overseas service in the U.S. Military, the Defendant has never travelled outside
of the continental United States.

62. As previously noted for the Court, the Defendant is a man of Shamanic faith. The
Defendant has written and self-published two (2) books (one fiction and one being what might
best be described as misguided musings), the Amazon information pages for which are attached
hereto, incorporated herein by reference, and marked Exhibit E.

63. The Defendant has zero criminal history and, as a result, is not one who has previously

been at risk for flight due to criminal charges.!

 

1 That being said, and in the interest of full disclosure, the Defendant wishes the Court to know that on his drive
back to Phoenix, Arizona from Washington, DC after the January 6, 2021 events at the Capitol, the Defendant
received a speeding ticket somewhere in the State of Oklahoma, but has not been able to address same by virtue of
his incarceration. The Defendant is unable to recall the specific location/jurisdiction in which the speeding ticket
was received by the Defendant; however, out of an abundance of caution, the Defendant wishes to confirm the

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64. In addition to being a published author, the Defendant wishes to confirm as a matter of
record herein that his current “self-analyzing” is a work in progress, one which has given rise to
his conclusion that he as zero interest in dealing with and addressing all matters political, but
rather, wishes to focus his energies and efforts on strengthening his commitment to his faith and
to the principle of Ahimsa, being one which promotes living a life which does no harm to any
living being, regardless of its size or complexity.”

65. Additionally, Defendant is an artist, a calling he desires to continue as part of his self-
sustaining lifestyle. Copies of images of pieces of art created by the hand of the Defendant are
attached hereto, incorporated herein by reference, and marked Exhibit F.

66. The Defendant wishes to continue his longstanding effort to support abused children. He
has worked over the better part of a decade starting in 2012 as a behavior health technician, also
serving as a counselor, teacher artist, counselor assistant, and volunteer with Phoenix based Free
Arts for Abused Kids of Arizona. He also worked for Brothers Keepers and Misfits Community,
both benevolent organizations supporting abused children. Immediately prior to his arrest herein,
the Defendant taught his self-created on-line classes on the Shamanic faith.

67. Since the Detention Hearing, the Government has made a preliminary disclosure of
written discovery to the Defendant’s counsel, none of which supports the proposition that the
Defendant is or was an ongoing danger to the community.

68. In truth, the image of the Defendant depicted on what is understood to be not less than
thousands of different video camera footage from January 6, 2021, do not reflect the Defendant

committing any act of violence or physicality or property damage at any time. In fact, video

 

foregoing with the Court and confirm that as of the date of the filing of this Motion, no additional details regarding
the speeding ticket are known or are immediately available to the Defendant.

2 Anecdotally, Defendant has long been known to “capture and release” insects rather than kill them.

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footage of the Defendant entering into the Capitol demonstrates that he did so without crossing
Police barricades and that he did so contemporaneously with the exiting by Capitol Police from
the Capitol Building stating, in effect, if not verbatim, “The building is yours.”

69. Widely reported video footage depicts the Defendant holding his pole in the air while
utilizing his megaphone to implore those within the Capitol to leave the Capito! and “go home”

pursuant to the instructions of then President Trump.

NOTE TO THE VICE-PRESIDENT

70. Much has been made of the Defendant’s cautiously written note to the Vice President of
the United States while in the U.S. Capitol Building. Substantial video footage of the Defendant
writing the note to the Vice President clearly depicts the caution employed by the Defendant to
make sure that he replaced the writing utensil utilized to write the note carefully back into the
holder from which it had been originally garnered by the Defendant. A copy of the note is
attached hereto, incorporated herein by reference, and marked Exhibit G.

71. With respect to the words on the note, it is now abundantly clear to all who have
witnessed the impeachment trial of the former U.S. President, that the words written by the
Defendant on the note to the Vice President mirrored the words (“. . . brought to justice”) spoken
by President Trump during his rally speech on January 6, 2021 at The Ellipse just prior to the
Defendant’s appearance in the Capitol Building. See yellow highlighted portions of Exhibit A
generally and second to last page specifically.

72. Atno time did the Defendant intend the words written for the Vice President to constitute
a threat. The Defendant made this clear to Federal law enforcement authorities at the time of his
voluntary surrender to Federal authorities in Phoenix, Arizona. This was memorialized by

Federal law enforcement in writings disclosed by the Government as part of Discovery herein.

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LEGAL DISCUSSION

73. It appears the Government contends that § 18 SC 1752(a), when combined with a
“dangerous weapon” as contemplated by 1752(b)(1)(A) is a “crime of violence.”

74. The Government appears to contend that the Court had reason to find probable cause in
this regard because the underlying statute is a “crime of violence.” 18 ESC 16 provides, in salient
part, the term “crime of violence” means —

(a) an offense that has an element the use, attempted use or threatened use of physical
force against the person or property of another, or

(b) any other offense that is a Felony and that, by its nature, involves a substantial risk
that physical force against the person or property of another may be used in the
course of committing an offense.

75. 18 USC 1752(a)(1)-(3) require proof of entry into the Capitol are generally some sort of
“disruption” or “disorderly conduct.” See 18 USC 1752(a)(1)-(3).

76. However, review of the elements of the statutory language does not support the
proposition that 1752(a)(1)-(3) are “crimes of violence.” There is nothing in the elements in this
regard.

77. The same is true for the allegation that the “possession of a dangerous weapon,” being the
finial on the top of the flagpole carrying the stars and stripes flag held by the Defendant, gives
tise to a claim that the elements of the statute justified conclusion that this statute is indeed a
“crime of violence.”

78. The Government bears the burden herein. To date, the Government has not cited any
case that is ever held that 18 USC 1752(a)(1)-(3) are crimes of violence, regardless of how it is

punished.

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79. In the instant case, the Government has not cited any conduct which satisfies the
requirement of a finding of a crime of violence.

80. The Government has relied upon the assertion that the finial atop the flagpole carried by
the Defendant while inside the U.S. Capitol Building on January 6, 2021 to allege that a violation
of 18 USC 1752(a)(1)-(3) is not a Misdemeanor, but instead, is a Felony because the offense
involves a “dangerous weapon.”

81. However, to prevail under this theory, the Government must show that there is probable
cause that the Defendant entered into a conspiracy to bring the finial into the Capitol and violate
Section 1752(a)(1)-(3).

82. The Government’s allegations to date demonstrate conclusively that probable cause does
not exist.

83. The discovery provided to the Defendant to date requires a leap of factual faith that
transcends all known evidence. In fact, the evidence suggests that the Defendant was not only
peaceful, but assisted law enforcement in emptying out of the Capitol Building and, moreover,
encouraged others to be respectful of law enforcement and did not engage in any physicality or
destruction at any time during his appearance in the U.S. Capitol Building on January 6, 2021,
much less conspire with others to do so.

84, Thus, the Government is not in a position to prove to a probable cause standard that
Defendant acted in a fashion which precludes pre-trial release in the present instance.

85. The Government has presumably relies on 18 USC 3142(f)(2)(A)(3) to support the
allegation the Defendant is a “substantial risk of flight. The Government offers zero justification
for this allegation other than its assertion that our client faces a criminal penalty if he is

convicted of the charges set forth in the Indictment herein.

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86. This is woefully insufficient.

87. Obviously, all Federal criminally-accused Defendants face statutory maximum penalties
if convicted.

88. The Government and Defense Counsel are cognizant that the legal principles of grouping
and the likely advisory guideline range upon conviction makes it virtually impossible that the
Defendant faces a sentence anywhere near the 20-year maximum the Government asserts to be
the scope of the Defendant’s liberty at risk herein, especially given the Federal Sentencing
Guidelines calculation protocol to be followed and establish a recommended range of sentencing.

89. The Government and the Court is aware as a matter of record that the Defendant has no
prior criminal history and immediately and peacefully surrendered himself to authorities upon
request, indeed even prior to the issuance of the Indictment herein.

90. The Government is not in a position to cede anything other than the history and
characteristics of the Defendant push the detention analysis required herein to be extremely
favorable for the Defendant.

91. Indeed, the Defendant is a 33-year-old with zero criminal history of any nature, much less
a violent history.

92. The client has a longstanding residential arrangement with his mother, is a life-long
resident of the City of Phoenix, Arizona, and was proactive about contacting law enforcement
authorities virtually the minute he was made aware of the authorities’ interest in him.

93. Based upon the statutory bases suggested to date by the Government, there is woefully
insufficient evidence to conduct the detention analysis outlined in 18 USA 3142(g) and the Court

should appropriately release the Defendant on this own recognizance.

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94, The 3142(g) factors fully support the immediate release of the Defendant. Should the
Court conclude that the Government has met its burden 18 USC 3142(f), the factors that it must
consider in 18 USC 3142(g) support the release of the Defendant herein.

95. The nature and circumstances of the offense as charged herein also significantly weigh in
favor of release. The proof in the record is that Defendant, unlike others involved in acts of
violence and assault in the U.S. Capitol Building on January 6, 2021, the Defendant herein did
not have any specific plan to travel to or enter into the Capitol, much less commit violence,
possess a weapon, vandalize, thieve, commit any acts of violence or assault, enter private offices,
view secretive or classified materials, or take any action other than that which is reflected in
virtually limitless video footage of the Defendant while in the U.S. Capito! Building.

96. The weight of the evidence in the present case also weighs in favor of release of the
Defendant.

97. The Defendant does not contest the assertion that he entered the U.S. Capitol Building on
January 6, 2021. In fact, the Defendant has publicly apologized for having done so and
expressed as a matter of public record his remorse for having done so.

98. Candid allegations brought against the Defendant appropriately and at worst result in
misdemeanor charges. The Government, through the Indictment filed herein, seeks more serious
charges. Many of the charged offenses pursued by the Government require an element of
possession and/or conspiracy to possess a dangerous weapon, the proof of which is wholly
absent herein.

99. Without belaboring the obvious, given the impeachment trial of former President Trump,
and while potential defenses are not required to be resolved by the Court at a Detention Hearing,

they should be considered regarding weight of the evidence. The Defendant clearly has a basis

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to argue that his conduct was protected, in part, by the First Amendment of the U.S. Constitution
to challenge as to the statutes at issue. Moreover, the Defendant, and tens of thousands of other
peacefully and similarly situated Defendants and potential Defendants, are possessed of estoppel
by entrapment defenses.

100. The reality is that the Defendant, like thousands of others, felt they were lawfully
answering the call of the President, listened to the words of the President, acted in reliance on the
truth of the words of the President, and did that which the President asked them to do.

101. Estoppel by entrapment arises from the due process clause and was established by the
U.S. Supreme in Raley v. Ohio, 360 US 42, (1959) and Cox v. State of Louisiana, 39 US 559,
571, 85S CT. 476, 484 (1965). To prove the defense, “A Defendant must show that:

(1) The Government Agent announce that the charged conduct was legal;

(2) The Defendant relied on the Agent’s announcement;

(3) The Defendant’s reliance was reasonable; and

(4) Given the Defendant’s reliance, prosecution would be unfair.”
United State of America v. Triana, 468 F 3d 308, 316 (6 Cir. 2006) citing United States v.
Levine, 973 F 2d 463, 468 (6" Cir. 1992).

102. In Reader’s Digest condensed form, for years during the Trump administration, the
President honed and routinely utilized his mass communication means to effectively groom
millions of Americans with respect to his policies, protocols, beliefs and overwhelming fixation
on all matters conspiratorial. Indeed, in the months before the 2020 Presidential election, former
President Trump heightened his public propaganda such as to alarm, alert, and amass his

supporters and cause them to be concerned about an inevitable voter fraud being perpetrated

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upon the United States of America and, in turn, the theft of our nation, loss of our democracy,
and the seating of a falsely/fraudulently elected individual other than former President Trump.

103. Thus, and without attempting to reinvent the U.S. Senate’s wheel created during the
second impeachment trial of former President Trump, when it became clear that former President
Trump indeed lost the 2020 Presidential election, Mr. Trump elevated his propaganda and social
media and Twitter exploitation such as to patently accuse his political opponents of “stealing”
the Presidency of the United States of America. This culminated in a Presidential
pronouncement that a massive fraud had been perpetrated upon the good and patriotic citizens of
the United States of America.

104. This propaganda was repeated over and over again. The propaganda was accompanied
by repeated requests that supporters of former President Trump come to a rally on January 6,
2021 in Washington, DC to protest the certification of the electoral vote which was slated to
declare President Biden as the 46" President of the United States of America.

105. While still President of the United States, President Trump told his supporters, the entire
nation, the world and then some, that the goal, objective and purpose of the underlying
January 6, 2021 rally was to “save America”, using the oft employed “stop the steal” moniker in
a fashion akin to that utilized by advertising agencies the world over to create, foster and
promote a brand. The “stop the steal” brand, coupled with the “save America” headline was
coupled with incendiary language and predictions of certainty associated with the assured
demise, destruction, and loss of all that we commonly know and associate with the United States
of America in the event that the certification of President Biden as the victor in the 2020 election

occurred.

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106. The second impeachment trial of then President Trial demonstrated in painstaking detail
the continuous utilization of inflammatory rhetoric by President Trump. The Defendant
respectfully requests the Court take judicial record of the Senate record made of the entirety of
the second impeachment trial of former President Trump.

107. The Defendant further requests the Court take judicial notice of the status of any sitting
U.S. President as the nation’s commander-in-chief and head of the Executive Branch of the U.S.
Federal Government, being the same branch under which the U.S. Department of Justice sits.

108. The Defendant further requests this Court take judicial notice of the statements of the
former U.S. Senate Majority Leader Mitch McConnell’s statement immediately following the
conclusion of the second impeachment trial of former President Trump in which the former
Majority, now Minority, Leader squarely places responsibility for the events of January 6" at the
feed of former President Trump. A true and correct copy of the words spoken by Mitch
McConnell on February 13, 2021 at the conclusion of the second Impeachment Trial of former
President trump is attached hereto, incorporated herein by reference, and marked Exhibit H.

109. The Government sadly is in the unenviable and otherworldly position of having
prosecuted the President through its Legislative Branch on an Article of Impeachment for
inciting tens of thousands to go to and in the U.S. Capitol while simultaneously prosecuting
through its Department of Justice those who were incited. Concurrently, the Government is
prosecuting members of the Capitol Police whose law enforcement duties are alleged to have
been compromised in response to the inciting words and actions of the former President. Further
tapering the clumps in the legal kitty litter is the understanding, upon good-faith information and

belief, the Government, through the Executive Branch’s Department of Justice, is actively

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investigating the former President for potential prospective Federal criminal prosecution on
charges sounding in “inciting” charges arising out of the events of January 6, 2021.

110. A disturbingly chilling message is being sent to Americans by the Government, perhaps
inadvertently, but one which nonetheless necessarily involves admonishing its citizens that they
have no right to rely on the words of the President; they have no right to believe the words of the
President are true; and if they do that which the President asks them to do, they will be

immediately stripped of their freedom, detained, held in solitary confinement, and prosecuted.

CONCLUSION

111. Since the Order by this Court for the Defendant to be served organic food, the Defendant
has been very grateful for the efforts made by authorities to accommodate his diet needs. That
being said, and without casting aspersions on the efforts of authorities in this regard, the
Defendant has experienced significant digestive tract issues for which medical consultation has
been sought.

112. The Defendant is not in a position to honestly represent to the Court that he is possessed
of an underlying medical condition which makes him especially vulnerable to the virus,
however, the Defendant, by and through his counsel, does point out to the Court that the
Defendant’s faith precludes him from receiving a vaccination for COVID-19.

113. Given the First Amendment rights of the Defendant as it relates to his faith, it is clear that
the Defendant should be eligible for temporary release under the “another compelling reason” as
referenced under 18 USC Section 3142(i).

114. The COVID-19 issue alone is not all that serves to be a compelling reason for the pre-
trial release of the Defendant. COVID-19 has, in effect and in reality, rendered the meaningful

unmonitored protracted periods of consultation by Defendant with his counsel impossible. It is

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respectfully suggested to this Court that this COVID-19-induced havoc inures to the detriment of
both the Defendant and the Government within the context of the present matter.

115. The investigative undertakings of the Government, by and through its Department of
Justice, Federal law enforcement and its Federal Legislative Branch, have demonstrated
conclusively to the country, nay the world, that the culpability of the Defendant, and other
similarly situated peaceful/non-violent individuals, should be appropriately contextualized with
the unprecedented circumstances surrounding the former President’s inciting of tens of
thousands of individuals to take the actions they took on January 6, 2021.

116. The indicia previously cited by the Government which caused initial trepidation on the
part of the Government to support or otherwise not object to the pre-trial release of the
Defendant relating to the flagpole have been abated.

117. Moreover, the trepidation by the Government with the pre-trial release of the Defendant
by virtue of the words written by the Defendant to the Vice President have been clarified beyond
the pale by the Government itself within the context of the impeachment trial of former President
Trump.

118. The Defendant has experienced as a matter of record certain digestive tract issues
attributable to the sustenance accorded the Defendant while in custody.

119, Perhaps most importantly within the context of the totality of the circumstances is the
bifurcated expression of willingness on the part of the Defendant to testify at the impeachment
trial of the former President and the condition-free publication of a globally-reported apology,
expression of regret and remorse for his actions on January 6, 2021.

120. Jointly and severally, the foregoing factors all combine to demonstrate that the Defendant

is not a flight risk, is not an ongoing danger to the community, that he was not in possession of a

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“dangerous weapon” on January 6, 2021, that the Defendant did not perpetrate acts of violence
or physicality with other persons and the inauguration of President Biden has been effectuated.

121. Given the foregoing, the Defendant asserts that numerous compelling reasons exist for
the release of the Defendant from custody during the pre-trial period. The Defendant points out
the obvious to the Court, namely that this case is without precedent, based on the unique
convergence of never before seen factors, including the actions and the words of a former
President of the United States, a global pandemic, a fluid investigation by multiple branches of
the U.S. Government concurrently with the prosecution of the present matter, the faith of the
Defendant and the condition-free public apology of the Defendant to demonstrate his traversing
of a path of internal reconciliation of his prior commitment to and political adoration of a former
President to his present state of introspection, remorse, regret and sorrow, all of which combine
to fully support the proposition that the pre-trial release of the Defendant herein is appropriate
and is fully supported by the facts herein.

122. Given the unique combination of circumstances giving rise to the present situation, the
Court is not in a position to solely rely upon precedents when evaluating the request of the
Defendant for pre-trial release herein. However, anecdotally, and in reliant on public reporting
of the pre-trial handling of other individuals named as Defendants in cases arising out of the
events of January 6, 2021 at the U.S. Capitol, Defendant is compelled to point out the pre-trial
release of similarly-situated Defendants, including Defendants with prior criminal records,
Defendants found to be in possession of property taken by the U.S. Capitol on January 6, 2021,
and even certain individuals associated with groups commonly known and referred to as “radical

right-wing groups.”

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WHEREFORE, Defendant prays this honorable Court grant Defendant’s Motion for a

Pre-Trial Release and for such other and further relief as the Court deems just and appropriate

in the circumstances.

Respectfully Submitted,

KODNER WATKINS, LC

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CERTIFICATE OF SERVICE

Signature above is also certification that on February 23rd, 2021, a true and correct copy of
the foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.

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Exhibit A
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Transcript of Trump’s January 6 Speech

Source: https://apnews.com/article/election-2020-joe-biden-donald-trump-capitol-siege-media-
e79eb5164613d6718e9f4502eb471f27

Well, thank you very much. This is incredible.

Media will not show the magnitude of this crowd. Even I, when | turned on today, | looked, and | saw
thousands of people here. But you don’t see hundreds of thousands of people behind you because they
don’t want to show that.

We have hundreds of thousands of people here and | just want them to be recognized by the fake news
media. Turn your cameras please and show what’s really happening out here because these people are
not going to take it any longer. They’re not going to take it any longer. Go ahead. Turn your cameras,
please. Would you show? They came from all over the world, actually, but they came from all over our
country.

| just really want to see what they do. | just want to see how they covered. I’ve never seen anything like
it. But it would be really great if we could be covered fairly by the media. The media is the biggest
problem we have as far as I’m concerned, single biggest problem. The fake news and the Big tech.

Big tech is now coming into their own. We beat them four years ago. We surprised them. We took them
by surprise and this year they rigged an election. They rigged it like they’ve never rigged an election
before. And by the way, last night they didn’t do a bad job either if you notice.

I’m honest. And | just, again, | want to thank you. It’s just a great honor to have this kind of crowd and to
be before you and hundreds of thousands of American patriots who are committed to the honesty of
our elections and the integrity of our glorious republic.

All of us here today do not want to see our election victory stolen by emboldened radical-left
Democrats, which is what they’re doing. And stolen by the fake news media. That’s what they’ve done
and what they’re doing. We will never give up, we will never concede. It doesn’t happen. You don’t
concede when there’s theft involved.

Our country has had enough. We will not take it anymore and that’s what this is all about. And to use a
favorite term that all of you people really came up with: We will stop the steal. Today | will lay out just
some of the evidence proving that we won this election and we won it by a landslide. This was not a
close election.

You know, | say, sometimes jokingly, but there’s no joke about it: I’ve been in two elections. | won them
both and the second one, | won much bigger than the first. OK. Almost 75 million people voted for our
campaign, the most of any incumbent president by far in the history of our country, 12 million more
people than four years ago.

And | was told by the real pollsters — we do have real pollsters — they know that we were going to do
well and we were going to win. What | was told, if | went from 63 million, which we had four years ago,
to 66 million, there was no chance of losing. Well, we didn’t go to 66, we went to 75 million, and they
say we lost. We didn’t lose.
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And by the way, does anybody believe that Joe had 80 million votes? Does anybody believe that? He had
80 million computer votes. It’s a disgrace. There’s never been anything like that. You could take third-
world countries. Just take a look. Take third-world countries. Their elections are more honest than what
we’ve been going through in this country. It’s a disgrace. It’s a disgrace.

Even when you look at last night. They’re all running around like chickens with their heads cut off with
boxes. Nobody knows what the hell is going on. There’s never been anything like this.

We will not let them silence your voices. We’re not going to let it happen, I’m not going to let it happen.
(Audience chants: “Fight for Trump.”)
Thank you.

And I'd love to have if those tens of thousands of people would be allowed. The military, the secret
service. And we want to thank you and the police law enforcement. Great. You’re doing a great job. But
I'd love it if they could be allowed to come up here with us. Is that possible? Can you just let him come
up, please?

And Rudy, you did a great job. He’s got guts. You know what? He’s got guts, unlike a lot of people in the
Republican Party. He’s got guts. He fights, he fights.

And I'll tell you. Thank you very much, John. Fantastic job. | watched. That’s a tough act to follow, those
two. John is one of the most brilliant lawyers in the country, and he looked at this and he said, “What an
absolute disgrace that this can be happening to our Constitution.”

And he looked at Mike Pence, and | hope Mike is going to do the right thing. | hope so. | hope so.

Because if Mike Pence does the right thing, we win the election. All he has to do, all this is, this is from
the number one, or certainly one of the top, Constitutional lawyers in our country. He has the absolute
right to do it. We’re supposed to protect our country, support our country, support our Constitution,
and protect our constitution.

States want to revote. The states got defrauded, They were given false information. They voted on it.
Now they want to recertify. They want it back. All Vice President Pence has to do is send it back to the
states to recertify and we become president and you are the happiest people.

And | actually, | just spoke to Mike. | said: “Mike, that doesn’t take courage. What takes courage is to do
nothing. That takes courage.” And then we’re stuck with a president who lost the election by a lot and
we have to live with that for four more years. We’re just not going to let that happen.

Many of you have traveled from all across the nation to be here, and | want to thank you for the
extraordinary love. That’s what it is. There’s never been a movement like this, ever, ever. For the
extraordinary love for this amazing country, and this amazing movement, thank you.

(Audience chants: “We love Trump.”)

By the way, this goes all the way back past the Washington Monument. You believe this? Look at this.
That is. Unfortunately gave, they gave the press the prime seats. | can’t stand that.
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No. But you look at that behind. | wish they’d flip those cameras and look behind you. That is the most
amazing sight. When they make a mistake, you get to see it on television. Amazing. Amazing. All the way
back.

And don’t worry, we will not take the name off the Washington Monument. We will not cancel culture.

You know they wanted to get rid of the Jefferson Memorial. Either take it down or just put somebody
else in there. | don’t think that’s going to happen. It damn well better not. Although, with this
administration, if this happens, it could happen. You'll see some really bad things happen.

They'll knock out Lincoln too, by the way. They’ve been taking his statue down. But then we signed a
little law. You hurt our monuments, you hurt our heroes, you go to jail for 10 years, and everything
stopped. You notice that? It stopped. It all stopped.

And they could use Rudy back in New York City. Rudy. They could use you. Your city’s going to hell. They
want Rudy Giuliani back in New York. We'll get a little younger version of Rudy. Is that OK, Rudy?

We’re gathered together in the heart of our nation’s capital for one very, very basic and simple reason:
To save our democracy.

You know most candidates on election evening and, of course, this thing goes on so long. They still don’t
have any idea what the votes are. We still have congressional seats under review. They have no idea.
They've totally lost control. They’ve used the pandemic as a way of defrauding the people in a proper
election.

But you know, you know, when you see this and when you see what’s happening. Number one, they all
say, “Sir, we'll never let it happen again.” | said, “That’s good. But what about eight weeks ago?” You
know they try and get you to go.

They said, “Sir, in four years, you’re guaranteed.” | said: “I’m not interested right now. Do me a favor, go
back eight weeks. | want to go back eight weeks. Let’s go back eight weeks.”

We want to go back and we want to get this right because we’re going to have somebody in there that
should not be in there and our country will be destroyed and we’re not going to stand for that.

For years, Democrats have gotten away with election fraud and weak Republicans. And that’s what they
are. There’s so many weak Republicans. And we have great ones. Jim Jordan and some of these guys,
they’re out there fighting. The House guys are fighting. But it’s, it’s incredible.

Many of the Republicans, | helped them get in, | helped them get elected. | helped Mitch get elected. |
helped. | could name 24 of them, let’s say, | won’t bore you with it. And then all of a sudden you have
something like this. It’s like, “Oh gee, maybe I’ll talk to the president sometime later.” No, it’s amazing.

They’re weak Republicans, they’re pathetic Republicans and that’s what happens.

If this happened to the Democrats, there’d be hell all over the country going on. There’d be hell all over
the country. But just remember this: You’re stronger, you’re smarter, you’ve got more going than
anybody. And they try and demean everybody having to do with us. And you’re the real people, you’re
the people that built this nation. You’re not the people that tore down our nation.
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The weak Republicans, and that’s it. | really believe it. | think I’m going to use the term, the weak
Republicans. You’ve got a lot of them. And you got a lot of great ones. But you got a lot of weak ones.
They’ve turned a blind eye, even as Democrats enacted policies that chipped away our jobs, weakened
our military, threw open our borders and put America last.

Did you see the other day where Joe Biden said, | want to get rid of the America First policy? What's that
all about? Get rid of. How do you say | want to get rid of America First? Even if you’re going to do it,
don’t talk about it, right? Unbelievable what we have to go through. What we have to go through.

And you have to get your people to fight. And if they don’t fight, we have to primary the hell out of the
ones that don’t fight. You primary them. We’re going to. We’re going to let you know who they are. |
can already tell you, frankly.

But this year, using the pretext of the China virus and the scam of mail-in ballots, Democrats attempted
the most brazen and outrageous election theft and there’s never been anything like this. So pure theft in
American history. Everybody knows it.

That election, our election was over at 10 o’clock in the evening. We’re leading Pennsylvania, Michigan,
Georgia, by hundreds of thousands of votes.

And then late in the evening, or early in the morning, boom, these explosions of bull——.
And all of a sudden. All of a sudden it started to happen.
(Audience chants: “Bull——.”)

Don’t forget when Romney got beat. Romney, hey. Did you see his? | wonder if he enjoyed his flight in
last night. But when Romney got beaten, you know, he stands up like you’re more typical, “Well, I’d like
to congratulate the victor.” The victor? Who is the victor, Mitt? “I’d like to congratulate.” They don’t go
and look at the facts. No, | don’t know. He got, he got slaughtered. Probably, maybe it was OK, maybe it
was. But that’s what happened.

But we look at the facts and our election was so corrupt that in the history of this country we’ve never
seen anything like it. You can go all the way back.

You know, America is blessed with elections. All over the world they talk about our elections. You know
what the world says about us now? They said, we don’t have free and fair elections.

And you know what else? We don’t have a free and fair press. Our media is not free, it’s not fair. It
suppresses thought, it suppresses speech and it’s become the enemy of the people. It’s become the
enemy of the people. It’s the biggest problem we have in this country.

No third-world countries would even attempt to do what we caught them doing. And you'll hear about
that in just a few minutes.

Republicans are, Republicans are constantly fighting like a boxer with his hands tied behind his back. It’s
like a boxer. And we want to be so nice. We want to be so respectful of everybody, including bad
people. And we’re going to have to fight much harder.

And Mike Pence is going to have to come through for us, and if he doesn’t, that will be a, a sad day for
our country because you’re sworn to uphold our Constitution.
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Now, it is up to Congress to confront this egregious assault on our democracy. And after this, we’re
going to walk down, and I'll be there with you, we’re going to walk down, we’re going to walk down.

Anyone you want, but | think right here, we’re going to walk down to the Capitol, and we’re going to
cheer on our brave senators and congressmen and women, and we’re probably not going to be cheering
so much for some of them.

Because you'll never take back our country with weakness. You have to show strength and you have to
be strong. We have come to demand that Congress do the right thing and only count the electors who
have been lawfully slated, lawfully slated.

| know that everyone here will soon be marching over to the Capitol building to peacefully and
patriotically make your voices heard.

Today we will see whether Republicans stand strong for integrity of our elections. But whether or not
they stand strong for our country, our country. Our country has been under siege for a long time. Far
longer than this four-year period. We've set it on a much greater course. So much, and we, | thought,
you know, four more years. | thought it would be easy.

We’ve created the greatest economy in history. We rebuilt our military. We get you the biggest tax cuts
in history. Right? We got you the biggest regulation cuts. There’s no president, whether it’s four years,
eight years or in one case more, got anywhere near the regulation cuts.

Used to take 20 years to get a highway approved, now we’re down to two. | want to get it down to one,
but we’re down to two. And it may get rejected for environmental or safety reasons, but we got it down
to safety.

We created Space Force, We, we, we. Look at what we did. Our military has been totally rebuilt. So we
create Space Force which, by and of itself, is a major achievement for an administration. And with us it’s
one of so many different things.

Right to Try. Everybody know about Right to Try. We did things that nobody ever thought possible. We
took care of our vets, our vets. The VA now has the highest rating, 91%. The highest rating that it’s had
from the beginning, 91% approval rating. Always, you watch the VA, it was on television every night,
people living in a horrible, horrible manner. We got that done. We got accountability done. We got it so
that now in the VA, you don’t have to wait for four weeks, six weeks, eight weeks, four months to see a
doctor. If you can’t get a doctor, you go outside, you get the doctor. You have it taken care of and we
pay the doctor.

And we’ve not only made life wonderful for so many people, we’ve saved tremendous amounts of
money, far secondarily, but we’ve saved a lot of money. And now we have the right to fire bad people in
the VA. We had 9,000 people that treated our veterans horribly. In primetime, they would not have
treated our veterans badly. But they treated our veterans horribly.

And we have what’s called the account, VA Accountability Act. And the accountability says if we see
somebody in there that doesn’t treat our vets well or they steal, they rob, they do things badly, we say:
“Joe you're fired. Get out of here.” Before you couldn't do that. You couldn’t do that before.
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So we’ve taken care of things, we’ve done things like nobody’s ever thought possible. And that’s part of
the reason that many people don’t like us, because we’ve done too much.

But we’ve done it quickly and we were going to sit home and watch a big victory and everybody had us
down for a victory. It was going to be great and now we’re out here fighting. | said to somebody, | was

going to take a few days and relax after our big electoral victory. 10 o’clock it was over. But | was going
to take a few days.

And I can say this. Since our election, | believe, which was such a catastrophe, when | watch. And even
these guys knew what happened. They know what happened. They’re saying: “Wow, Pennsylvania’s
insurmountable. Wow, Wisconsin.” Look at the big leads we had, right. Even though the press said we
would lose Wisconsin by 17 points. Even though the press said, Ohio’s going to be close, we set a record;
Florida’s going to be close, we set a record; Texas is going to be close, Texas is going to be close, we set a
record.

And we set a record with Hispanic, with the Black community, we set a record with everybody.

Today we see a very important event though. Because right over there, right there, we see the event
going to take place. And I’m going to be watching. Because history is going to be made. We're going to
see whether or not we have great and courageous leaders, or whether or not we have leaders that
should be ashamed of themselves throughout history, throughout eternity they'll be ashamed.

And you know what? If they do the wrong thing, we should never, ever forget that they did. Never
forget. We should never ever forget.

With only three of the seven states in question, we win the presidency of the United States. And by the
way, it’s much more important today than it was 24 hours ago, because | don’t. | spoke to David Perdue,
what a great person, and Kelly Loeffler, two great people, but it was a setup.

And you know, | said, “We have no backline anymore.” The only backline, the only line of demarcation,
the only line that we have is the veto of the president of the United States. So this is now, what we’re
doing, a far more important election than it was two days ago.

| want to thank the more than 140 members of the House. Those are warriors. They’re over there
working like you’ve never seen before. Studying, talking, actually going all the way back, studying the
roots of the Constitution, because they know we have the right to send a bad vote that was illegally
gotten.

They gave these people bad things to vote for and they voted because what did they know? And then
when they found out a few weeks later, again, it took them four years to devise this screen.

And the only unhappy person in the United States, single most unhappy, is Hillary Clinton. Because she
said: “Why didn’t you do this for me four years ago? Why didn’t you do this for me four years ago?
Change the votes, 10,000 in Michigan. You could have changed the whole thing.” But she’s not too
happy. You know, you don’t see her anymore. What happened? Where’s Hillary? Where is she?
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But I want to thank all of those congressmen and women. | also want to thank our 13, most courageous
members of the U.S. Senate. Senator Ted Cruz, Senator Ron Johnson, Senator Josh Hawley, Kelly
Loeffler.

And Kelly Loeffler, I’ll tell you, she has been, she’s been so great. She worked so hard. So let’s give her
and David a little special hand because it was rigged against them. Let’s give her and David.

Kelly Loeffler, David Purdue. They fought a good race. They never had a shot. That equipment should
never have been allowed to be used, and | was telling these people don’t let him use this stuff.

Marsha Blackburn, terrific person. Mike Braun, Indiana. Steve Daines, great guy. Bill Hagerty, John
Kennedy, James Lankford, Cynthia Lummis, Tommy Tuberville, the coach, and Roger Marshall. We want
to thank them. Senators that stepped up, We want to thank them.

| actually think though, it takes, again, more courage not to step up, and | think a lot of those people are
going to find that out and you better start looking at your leadership, because your leadership has led
you down the tubes.

You know, we don’t want to give $2,000 to people. We want to give them $600. Oh, great. How does
that play politically? Pretty good? And this has nothing to do with politics, but how does it play
politically?

China destroyed these people. We didn’t destroy. China destroy them, totally destroyed them. We want
to give them $600 and they just wouldn’t change.

| said give them $2,000, we’ll pay it back. We'll pay it back fast. You already owe 26 trillion, give thema
couple of bucks. Let them live. Give them a couple of bucks. And some of the people here disagree with
me on that, but | just say, “Look, you’ve got to let people live.”

And how does that play though? OK. Number one, it’s the right thing to do. But how does that play
politically? | think it’s the primary reason, one of the primary reasons, the other was just pure cheating.
That was the primary, super primary reason. But you can’t do that, you got to use your head.

As you know, the media has constantly asserted the outrageous lie that there was no evidence of
widespread fraud. Have you ever seen these people? While there is no evidence of fraud. Oh, really?
Well, I’m going to read you pages. | hope you don’t get bored listening to it. Promise? Don’t get bored
listening to it, all those hundreds of thousands of people back there. Move them up, please, yeah.

All they, all these people, don’t get bored, don’t get angry at me because you're going to get bored
because it’s so much.

The American people do not believe the corrupt, fake news anymore. They have ruined their reputation.
But you know, it used to be that they’d argue with me. I’d fight. So I’d fight, they’d fight, I’d fight, they’d
fight. Pop pop. You'd believe me, you'd believe them. Somebody comes out. You know, they had their
point of view, | had my point of view, but you’d have an argument.

Now what they do is they go silent. It’s called suppression and that’s what happens in a communist
country. That’s what they do, they suppress. You don’t fight with them anymore. Unless it’s a bad story.
They have a little bad story about me, they make it 10 times worse and it’s a major headline.
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But Hunter Biden, they don’t talk about him. What happened to Hunter? Where’s Hunter? Where’s
Hunter? They don’t talk about him. They'll watch, all the sets will go off. Well, they can’t do that because
they get good ratings. Their ratings are too good. Now, where’s Hunter? You know.

And how come Joe is allowed to give a billion dollars of money to get rid of the prosecutor in Ukraine?
How does that happen? I’d ask you that question. How does that happen? Can you imagine if | said that?
If | said that it would be a whole different ballgame.

And how come Hunter gets three and a half million dollars from the mayor of Moscow’s wife, and gets
hundreds of thousands of dollars to sit on an energy board, even though he admits he has no knowledge
of energy? And millions of dollars up front.

And how come they go into China and they leave with billions of dollars to manage. “Have you managed
money before?” “No, | haven’t.” “Oh, that’s good. Here’s about 3 billion.” No, they don’t talk about that.

No, we have a corrupt media. They’ve gone silent. They’ve gone dead. | now realize how good it was if
you go back 10 years, | realized how good, even though | didn’t necessarily love them, | realized how
good. It was like a cleansing motion, right?

But we don’t have that anymore. We don’t have a fair media anymore. It’s suppression. And you have to
be very careful with that and they’ve lost all credibility in this country.

We will not be intimidated into accepting the hoaxes and the lies that we’ve been forced to believe.

Over the past several weeks, we’ve amassed overwhelming evidence about a fake election. This is the
presidential election. Last night was a little bit better because of the fact that we had a lot of eyes
watching one specific state, but they cheated like hell anyway.

You have one of the dumbest governors in the United States. And you know when | endorsed him, and |
didn’t know this guy, at the request of David Perdue, he said, “Friend of mine’s running for governor.”
“What's his name?” And you know the rest. He was in fourth place, fifth place. | don’t know, he was, he
was doing poorly. | endorse him, he went like a rocket ship and he won.

And then I had to beat Stacey Abrams with this guy, Brian Kemp. | had to beat Stacey Abrams. And | had
to beat Oprah, used to be a friend of mine. You know, | was on her last show, her last week, she picked
the five outstanding people. | don’t think she thinks that any more. Once | ran for president, | didn’t
notice there were too many calls coming in from Oprah. Believe it or not, she used to like me. But | was
one of the five outstanding people.

And | had a campaign against Michelle Obama and Barack Hussein Obama, against Stacey.

And | had Brian Kemp, who weighs 130 pounds. He said he played offensive line in football. I’m trying to
figure that out. I’m still trying to figure that out. He said that the other night, “I was an offensive
lineman.” I’m saying: “Really? That must have been a very small team.” But ! look at that and | look at
what’s happened and he turned out to be a disaster. This stuff happens.

You know, look, I’m not happy with the Supreme Court. They love to rule against me. | picked three
people. | fought like hell for them. One in particular, | fought. They all said, “Sir, cut him loose.” He’s
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killing the senators. You know, very loyal senators, they're very loyal people, “Sir, cut him loose, he’s
killing us, sir, cut him loose.” | must have gotten half of the senators.

| said: “No, | can’t do that, it’s unfair to him and it’s unfair to the family. He didn’t do anything wrong.”
They made up stories, they’re all made-up stories. He didn’t do anything wrong. “Cut him loose, sir.” |
said, “No, | won’t do that. We got him through.” And you know what, they couldn’t give a damn. They
couldn't give a damn. Let him rule the right way.

But it almost seems that they’re all going out of their way to hurt all of us and to hurt our country. To
hurt our country.

You know, | read a story in one of the newspapers recently how | control the three Supreme Court
justices. | control them. They’re puppets.

| read it about Bill Barr, that he’s my personal attorney. That he’ll do anything for me. And | said, “You
know, it really is genius.” Because what they do is that, and it makes it really impossible for them to ever
give you a victory, because all of a sudden Bill Barr changed. If you hadn’t noticed. | like Bill Barr, but he
changed, because he didn’t want to be considered my personal attorney.

And the Supreme Court, they rule against me so much. You know why? Because the story is — | haven't
spoken to any of them, any of them, since virtually they got in — but the story is that they’re my
puppets. Right? That they’re puppets.

And now the only way they can get out of that because they hate that it’s not good in the social circuit.
And the only way they get out is to rule against Trump. So let’s rule against Trump. And they do that. So
! want to congratulate them.

But it shows you the media’s genius. In fact, probably if | was the media, I’d do it the same way. | hate to
say it. But we got to get them straightened out.

Today, for the sake of our democracy, for the sake of our Constitution, and for the sake of our children,
we lay out the case for the entire world to hear. You want to hear it?

(Audience responds: “Yeah”)

In every single swing state, local officials, state officials, almost all Democrats, made illegal and
unconstitutional changes to election procedures without the mandated approvals by the state
legislatures.

That these changes paved a way for fraud ona scale never seen before. | think we go a long way outside
of our country when | say that.

So, just in a nutshell, you can’t make a change or voting for a federal election unless the state legislature
approves it. No judge can do it. Nobody can do it. Only a legislature.

So as an example, in Pennsylvania, or whatever, you have a Republican legislature, you have a Democrat
mayor, and you have a lot of Democrats all over the place. They go to the legislature. The legislature
laughs at them, says we’re not going to do that. They say, thank you very much and they go and make
the changes themselves, they do it anyway. And that’s totally illegal. That’s totally illegal. You can’t do
that.
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In Pennsylvania, the Democrat secretary of state and the Democrat state Supreme Court justices illegally
abolished the signature verification requirements just 11 days prior to the election.

So think of what they did. No longer is there signature verification. Oh, that’s OK. We want voter ID by
the way. But no longer is there a signature verification. Eleven days before the election they say we
don’t want it. You know why they don’t want to? Because they want to cheat. That’s the only reason.

Who would even think of that? We don’t want to verify a signature?

There were over 205,000 more ballots counted in Pennsylvania. Think of this, you had 205,000 more
ballots than you had voters. That means you had two. Where did they come from? You know where
they came from? Somebody's imagination, whatever they needed.

So in Pennsylvania, you had 205,000 more votes than you had voters. And the number is actually much
greater than that now. That was as of a week ago. And this is a mathematical impossibility unless you
want to say it’s a total fraud.

So Pennsylvania was defrauded. Over 8,000 ballots in Pennsylvania were cast by people whose names
and dates of birth match individuals who died in 2020 and prior to the election. Think of that. Dead
people, lots of dead people, thousands. And some dead people actually requested an application. That
bothers me even more.

Not only are they voting, they want an application to vote. One of them was 29 years ago, died. It’s
incredible. Over 14,000 ballots were cast by out-of-state voters, so these are voters that don’t live in this
state.

And by the way, these numbers are what they call outcome-determinative, meaning these numbers far
surpass. | lost by a very little bit. These numbers are massive, massive.

More than 10,000 votes in Pennsylvania were illegally counted, even though they were received after
Election Day. In other words, they were received after Election Day. Let’s count them anyway.

And what they did in many cases is, they did fraud. They took the date and they moved it back so that it
no longer is after Election Day. And more than 60,000 ballots in Pennsylvania were reported received
back. They got back before they were ever supposedly mailed out. In other words, you got the ballot
back before you mailed it, which is also logically and logistically impossible, right?

Think of that one. You got the ballot back. Let’s send the ballots. Oh, they’ve already been sent. But we
got the ballot back before they were sent. | don’t think that’s too good, right?

Twenty-five thousand ballots in Pennsylvania were requested by nursing home residents, all in a single
giant batch, not legal, indicating an enormous, illegal ballot harvesting operation. You’re not allowed to
do it, it’s against the law.

The day before the election, the state of Pennsylvania reported the number of absentee ballots that had
been sent out. Yet this number was suddenly and drastically increased by 400,000 people. It was
increased, nobody knows where it came from, by 400,000 ballots, one day after the election.
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It remains totally unexplained. They said, “Well, ah, we can’t figure that.” Now, that’s many, many times
what it would take to overthrow the state. Just that one element. Four hundred thousand ballots
appeared from nowhere right after the election.

By the way, Pennsylvania has now seen all of this. They didn’t know because it was so quick. They had a
vote. They voted. But now they see all this stuff, it’s all come to light. Doesn’t happen that fast. And they
want to recertify their votes. They want to recertify. But the only way that can happen is if Mike Pence
agrees to send it back. Mike Pence has to agree to send it back.

(Audience chants: “Send it back.”)
And many people in Congress want it sent back.

And think of what you’re doing. Let’s say you don’t do it. Somebody says, “Well, we have to obey the
Constitution.” And you are, because you’re protecting our country and you're protecting the
Constitution. So you are.

But think of what happens. Let’s say they’re stiffs and they’re stupid people, and they say, well, we really
have no choice. Even though Pennsylvania and other states want to redo their votes. They want to see
the numbers. They already have the numbers. Go very quickly. And they want to redo their legislature
because many of these votes were taken, as | said, because it wasn’t approved by their legislature. You
know, that, in itself, is legal. And then you have the scam, and that’s all of the things that we’re talking
about.

But think of this. If you don’t do that, that means you will have a president of the United States for four
years, with his wonderful son. You will have a president who lost all of these states. Or you will have a
president, to put it another way, who was voted on by a bunch of stupid people who lost all of these
states.

You will have an illegitimate president. That’s what you’ll have. And we can’t let that happen.

These are the facts that you won’t hear from the fake news media. It’s all part of the suppression effort.
They don’t want to talk about it. They don’t want to talk about it. In fact, when | started talking about
that, | guarantee you, a lot of the television sets and a lot of those cameras went off. And that’s a lot of
cameras back there. But a lot of them went off.

But these are the things you don’t hear about. You don’t hear what you just heard. I’m going to go over
a few more states. But you don’t hear it by the people who want to deceive you and demoralize you and
control you. Big tech, media.

Just like the suppression polls that said we’re going lose Wisconsin by 17 points. Well, we won
Wisconsin. They don’t have it that way because they lost just by a little sliver. But they had me down the
day before, Washington Post/ABC poll, down 17 points.

| called up a real pollster. | said, “What is that?” “Sir, that’s called a suppression poll. | think you’re going
to win Wisconsin, sir.”

| said, “But why don’t they make it four or five points?” Because then people vote. But when you’re
down 17, they say, “Hey, I’m not going to waste my time. | love the president, but there’s no way.”
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Despite that, despite that, we won Wisconsin. It’s going to see. | mean, you'll see. But that’s called
suppression because a lot of people when they see that. It’s very interesting. This pollster said, “Sir, if
you’re down three, four, or five people vote. When you go down 17, they say, ‘Let’s save. Let’s go and
have dinner and let’s watch the presidential defeat tonight on television, darling.’””

And just like the radical left tries to blacklist you on social media. Every time | put out a tweet, that’s,
even if it’s totally correct, totally correct, | get a flag. | get a flag.

And they also don’t let you get out. You know, on Twitter, it’s very hard to come onto my account. It’s
very hard to get out a message. They don’t let the message get out nearly like they should. But I’ve had
many people say, “I can’t get on your Twitter.” | don’t care about Twitter. Twitter's bad news. They’re all
bad news.

But you know what, if you want to, if you want to get out a message and if you want to go through Big
tech, social media, they are really, if you’re a conservative, if you’re a Republican, if you have a big voice,
| guess they call it shadow banned, right? Shadow banned. They shadow ban you, and it should be
illegal.

I’ve been telling these Republicans, get rid of Section 230. And for some reason, Mitch and the group,
they don’t want to put it in there and they don’t realize that that’s going to be the end of the Republican
Party as we know it, but it’s never going to be the end of us. Never. Let them get out. Let, let the weak
ones get out. This is a time for strength.

They also want to indoctrinate your children in school by teaching them things that aren’t-so. They want
to indoctrinate your children. It’s all part of the comprehensive assault on our democracy, and the
American people are finally standing up and saying no. This crowd is, again, a testament to it.

| did no advertising, | did nothing. You do have some groups that are big supporters. | want to thank
that, Amy, and everybody. We have some incredible supporters, incredible. But we didn’t do anything.
This just happened. Two months ago, we had a massive crowd come down to Washington. | said, “What
are they there for?” “Sir, they’re there for you.”

We have nothing to do with it. These groups are for, they’re forming all over the United States. And we
got to remember, in a year from now, you're going to start working on Congress and we got to get rid of
the weak Congress, people, the ones that aren’t any good, the Liz Cheneys of the world. We got to get
rid of them. We got to get rid.

You know, she never wants a soldier brought home, | brought a lot of our soldiers home. | don’t know,
somewhat like it. They’re in countries that nobody even knows the name, nobody knows where they
are. They’re dying. They’re great, but they’re dying. They’re losing their arms, their legs, their face. |
brought them back home, largely back home. Afghanistan, Iraq.

Remember, | used to say in the old days: “Don’t go in Iraq. But if you go in, keep the oil.” We didn’t keep
the oil. So stupid. So stupid these people. And Iraq has billions and billions of dollars now in the bank.
And what did we do? We got nothing. We never get. But we do actually, we kept the oil here or we get,
we did good.
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We got rid of the ISIS caliphate. We got rid of plenty of different things that everybody knows and the
rebuilding of our military in three years. People said it couldn’t be done. And it was all made in the USA,
all made in the USA, best equipment in the world.

In Wisconsin, corrupt Democrat-run cities deployed more than 500 illegal, unmanned, unsecured drop
boxes, which collected a minimum of 91,000 unlawful votes. It was razor-thin, the loss. This one thing
alone is much more than we would need. But there are many things.

They have these lockboxes. And, you know, they’d pick them up and they disappear for two days. People
would say where’s that box? They disappeared. Nobody even knew where the hell it was.

In addition, over 170,000 absentee votes were counted in Wisconsin without a valid absentee ballot
application. So they had a vote, but they had no application, and that’s illegal in Wisconsin. Meaning
those votes were blatantly done in opposition to state law and they came 100% from Democrat areas
such as Milwaukee and Madison, 100%.

In Madison, 17,000 votes were deposited in so-called human drop boxes. You know what that is, right?
Where operatives stuff thousands of unsecured ballots into duffle bags on park benches across the city,
in complete defiance of cease-and-desist letters from state legislature.

Your state legislatures said don’t do it. They’re the only ones that can approve it. They gave tens of
thousands of votes. They came in in duffle bags. Where the hell did they come from?

According to eyewitness testimony, Postal Service workers in Wisconsin were also instructed to illegally
backdate approximately 100,000 ballots. The margin of difference in Wisconsin was less than 20,000
votes. Each one of these things alone wins us the state. Great state. We love the state. We won the
state.

In Georgia, your secretary of state who, | can’t believe this guy’s a Republican. He loves recording
telephone conversations. You know, that was? | thought it was a great conversation personally. So did a
lot of other. People love that conversation because it says what’s going on.

These people are crooked. They’re 100%, in my opinion, one of the most corrupt, between your
governor and your secretary of state. And now you have it again last night. Just take a look at what
happened. What a mess.

And the Democrat Party operatives entered into an illegal and unconstitution — unconstitutional
settlement agreement that drastically weakened signature verification and other election security
procedures.

Stacey Abrams. She took them to lunch. And | beat her two years ago with a bad candidate, Brian Kemp.
But they took, the Democrats took the Republicans to lunch because the secretary of state had no clue
what the hell was happening. Unless he did have a clue. That’s interesting. Maybe he was with the other
side.

But we’ve been trying to get verifications of signatures in Fulton County, they won’t let us do it. The only
reason they won't is because we'll find things in the hundreds of thousands. Why wouldn’t they let us
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verify signatures in Fulton County, which is known for being very corrupt. They won’t do it. They go to
some other county where you would live.

| said, “That's not the problem.” The problem is Fulton County, home of Stacey Abrams. She did a good
job, | congratulate her. But it was done in such a way that we can’t let this stuff happen. We won’t have
a country if it happens.

As a result, Georgia’s absentee ballot rejection rate was more than 10 times lower than previous levels
because the criteria was so off.

Forty-eight counties in Georgia, with thousands and thousands of votes, rejected zero ballots. There
wasn’t one ballot. In other words, in a year in which more mail-in ballots were sent than ever before,
and more people were voting by mail for the first time, the rejection rate was drastically lower than it
had ever been before.

The only way this can be explained is if tens of thousands of illegitimate votes were added to the tally.
That’s the only way you could explain it.

By the way, you’re talking about tens of thousands. If Georgia had merely rejected the same number of
unlawful ballots as in other years, they should have been approximately 45,000 ballots rejected. Far
more than what we needed to win, just over 11,000. They should find those votes. They should
absolutely find that. Just over 11,000 votes, that’s all we need. They defrauded us out of a win in
Georgia, and we’re not going to forget it.

There’s only one reason the Democrats could possibly want to eliminate signature matching, opposed
voter ID, and stop citizenship confirmation. “Are you a citizenship?” You’re not allowed to ask that
question, because they want to steal the election.

The radical left knows exactly what they’re doing. They’re ruthless and it’s time that somebody did
something about it. And Mike Pence, | hope you’re going to stand up for the good of our Constitution
and for the good of our country. And if you’re not, I’m going to be very disappointed in you. | will tell
you right now. I’m not hearing good stories.

In Fulton County, Republican poll watchers were ejected, in some cases, physically from the room under
the false pretense of a pipe burst. Water main burst, everybody leave. Which we now know was a total
lie.

Then election officials pull boxes, Democrats, and suitcases of ballots out from under a table. You all saw
it on television, totally fraudulent. And illegally scanned them for nearly two hours, totally unsupervised.
Tens of thousands of votes. This act coincided with a mysterious vote dump of up to 100,000 votes for
Joe Biden, almost none for Trump. Oh, that sounds fair. That was at 1:34 a.m.

The Georgia secretary of state and pathetic governor of Georgia, have reached, although he says I’m a
great president. You know, | sort of maybe have to change. He said the other day, “Yes, | do. | disagree
with president, but he’s been a great president.” Good, thanks. Thank you very much.

Because of him and others, you have Brian Kemp. Vote him the hell out of office, please. Well, his rates
are so low. You know, his approval rating now, | think it just reached a record low.
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They’ve rejected five separate appeals for an independent and comprehensive audit of signatures in
Fulton County. Even without an audit, the number of fraudulent ballots that we’ve identified across the
State is staggering.

Over 10,300 ballots in Georgia were cast by individuals whose names and dates of birth match Georgia
residents who died in 2020 and prior to the election.

More than 2,500 ballots were cast by individuals whose names and dates of birth match incarcerated
felons in Georgia prison. People who are not allowed to vote.

More than 4,500 illegal ballots were cast by individuals who do not appear on the state’s own voter
rolls.

Over 18,000 illegal ballots were cast by individuals who registered to vote using an address listed as
vacant, according to the Postal Service.

At least 88,000 ballots in Georgia were cast by people whose registrations were illegally backdated.

Sixty-six thousand votes, each one of these is far more than we need. Sixty-six thousand votes in Georgia
were cast by individuals under the legal voting age.

And at least 15,000 ballots were cast by individuals who moved out of the state prior to November 3
election. They say they moved right back. They moved right back. Oh, they moved out, they moved right
back. OK. They missed Georgia that much. | do. | love Georgia, but it’s a corrupt system.

Despite all of this, the margin in Georgia is only 11,779 votes.

Each and every one of these issues is enough to give us a victory in Georgia, a big beautiful victory. Make
no mistake, this election was stolen from you, from me and from the country.

And not a single swing state has conducted a comprehensive audit to remove the illegal ballots. This
should absolutely occur in every single contested state before the election is certified.

In the state of Arizona, over 36,000 ballots were illegally cast by non-citizens. Two thousand ballots were
returned with no address. More than 22,000 ballots were returned before they were ever supposedly
mailed out. They returned, but we haven’t mailed them yet.

Eleven thousand six hundred more ballots and votes were counted, more than there were actual voters.
You see that? So you have more votes again than you have voters.

One hundred and fifty thousand people registered in Maricopa County after the registration deadline.
One hundred and three thousand ballots in the county were sent for electronic adjudication with no
Republican observers.

In Clark County, Nevada, the accuracy settings on signature verification machines were purposely
lowered before they were used to count over 130,000 ballots.

If you signed your name as Santa Claus, it would go through.

There were also more than 42,000 double votes in Nevada. Over 150,000 people were hurt so badly by
what took place. And 1,500 ballots were cast by individuals whose names and dates of birth match
Case 1:21-cr-00003-RCL Document 12 Filed 02/23/21 Page 44 of 74

Nevada residents who died in 2020 prior to November 3 election. More than 8,000 votes were cast by
individuals who had no address and probably didn’t live there.

The margin in Nevada is down at a very low number, any of these things would have taken care of the
situation. We would have won Nevada, also. Every one of these we’re going over, we win.

In Michigan, quickly, the secretary of state, a real great one, flooded the state with unsolicited mail-in
ballot applications sent to every person on the rolls in direct violation of state law.

More than 17,000 Michigan ballots were cast by individuals whose names and dates of birth match
people who were deceased.

In Wayne County, that’s a great one. That’s Detroit. One hundred and seventy-four thousand ballots
were counted without being tied to an actual registered voter. Nobody knows where they came from.

Also, in Wayne County, poll watchers observed canvassers rescanning batches of ballots over and over
again, up to three or four or five times.

In Detroit, turnout was 139% of registered voters. Think of that. So you had 139% of the people in
Detroit voting. This is in Michigan. Detroit, Michigan.

A career employee of the Detroit, City of Detroit, testified under penalty of perjury that she witnessed
city workers coaching voters to vote straight Democrat while accompanying them to watch who they
voted for. When a Republican came in, they wouldn’t talk to him.

The same worker was instructed not to ask for any voter ID and not to attempt to validate any
signatures if they were Democrats. She also told to illegally, and was told, backdate ballots received
after the deadline and reports that thousands and thousands of ballots were improperly backdated.
That’s Michigan.

Four witnesses have testified under penalty of perjury that after officials in Detroit announced the last
votes had been counted, tens of thousands of additional ballots arrived without required envelopes.
Every single one was for a Democrat. | got no votes.

At 6:31 a.m. in the early morning hours after voting had ended, Michigan suddenly reported 147,000
votes. An astounding 94% went to Joe Biden, who campaigned brilliantly from his basement. Only a
couple of percentage points went to Trump.

Such gigantic and one-sided vote dumps were only observed in a few swing states and they were
observed in the states where it was necessary.

You know what’s interesting? President Obama beat Biden in every state other than the swing states
where Biden killed them, but the swing states were the ones that mattered.

They’re always just enough to push Joe Biden barely into the lead. We were ahead by a lot and within a
number of hours we were losing by a little.
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In addition, there is the highly troubling matter of Dominion Voting Systems. In one Michigan county
alone, 6,000 votes were switched from Trump to Biden and the same systems are used in the majority of
states in our country.

Senator William Ligon, a great gentleman, chairman of Georgia’s senate judiciary subcommittee.
Senator Ligon, highly respected, on elections has written a letter describing his concerns with Dominion
in Georgia.

He wrote, and | quote, The Dominion Voting Machines employed in Fulton County had an astronomical
and astounding 93.67% error rate. It’s only wrong 93% of the time in the scanning of ballots requiring a
review panel to adjudicate or determine the voter’s interest in over 106,000 ballots out of a total of
113,000.

Think of it. You go in and you vote and then they tell people who you supposed to be voting for. They
make up whatever they want. Nobody’s ever even heard.

They adjudicate your vote. They say, Well, we don’t think Trump wants to vote for Trump. We think he
wants to vote for Biden. Put it down for Biden.

The national average for such an error rate is far less than 1% and yet you’re at 93%. The source of this
astronomical error rate must be identified to determine if these machines were set up or destroyed to
allow for a third party to disregard the actual ballot cast by the registered voter.

The letter continues. There is clear evidence that tens of thousands of votes were switched from
President Trump to former Vice President Biden in several counties in Georgia.

For example, in Bibb County, President Trump was reported to have 29,391 votes at 9:11 p.m. Eastern
time, while simultaneously Vice President Joe Biden was reported to have 17,213. Minutes later, just
minutes, at the next update, these vote numbers switched with President Trump going way down to
17,000 and Biden going way up to 29,391. And that was very quick, a 12,000 vote switch all in Mr.
Biden’s favor.

So, | mean, | could go on and on about this fraud that took place in every state, and all of these
legislatures want this back. | don’t want to do it to you because | love you and it’s freezing out here. But
| could just go on forever. | can tell you this.

(Audience chants: “We love you.”)

So when you hear, when you hear, while there is no evidence to prove any wrongdoing, this is the most
fraudulent thing anybody has, this is a criminal enterprise. This is a criminal enterprise. And the press
will say, and I’m sure they won't put any of that on there, because that’s no good. And you ever see,
while there is no evidence to back President Trump’s assertion.

| could go on for another hour reading this stuff to you and telling you about it. There’s never been
anything like it.

Think about it. Detroit had more votes than it had voters. Pennsylvania had 205,000 more votes than it
had more. But you don’t have to go any. Between that, | think that’s almost better than dead people if
you think, right? More votes than they had voters. And many other states also.
Case 1:21-cr-00003-RCL Document 12 Filed 02/23/21 Page 46 of 74

It’s a disgrace that the United States of America, tens of millions of people, are allowed to go vote
without so much as even showing identification.

In no state is there any question or effort made to verify the identity, citizenship, residency or eligibility
of the votes cast.

The Republicans have to get tougher. You’re not going to have a Republican Party if you don’t get
tougher. They want to play so straight. They want to play so, sir, yes, the United States. The Constitution
doesn’t allow me to send them back to the States. Well, | say, yes it does, because the Constitution says
you have to protect our country and you have to protect our Constitution, and you can’t vote on fraud.
And fraud breaks up everything, doesn’t it? When you catch somebody in a fraud, you’re allowed to go
by very different rules.

So | hope Mike has the courage to do what he has to do. And | hope he doesn’t listen to the RINOs and
the stupid people that he’s listening to.

It is also widely understood that the voter rolls are crammed full of non-citizens, felons and people who
have moved out of state and individuals who are otherwise ineligible to vote. Yet Democrats oppose
every effort to clean up their voter rolls. They don’t want to clean them up. They’re loaded.

And how many people here know other people, that when there are hundreds of thousands and then
millions of ballots got sent out, got three, four, five, six, and | heard one, who got seven ballots. And
then they say you didn’t quite make it, sir.

We won ina landslide. This was a landslide. They said it’s not American to challenge the election. This
the most corrupt election in the history, maybe of the world.

You know, you could go third-world countries, but | don’t think they had hundreds of thousands of votes
and they don’t have voters for them. | mean no matter where you go, nobody would think this.

In fact, it’s so egregious, it’s so bad that a lot of people don’t even believe it. It’s so crazy that people
don’t even believe it. It can’t be true. So they don’t believe it.

This is not just a matter of domestic politics, this is a matter of national security.

So today, in addition to challenging the certification of the election, I’m calling on Congress and the state
legislatures to quickly pass sweeping election reforms, and you better do it before we have no country
left.

Today is not the end, it’s just the beginning.

With your help over the last four years, we built the greatest political movement in the history of our
country and nobody even challenges that.

| say that over and over, and | never get challenged by the fakeness, and they challenge almost
everything we say.

But our fight against the big donors, big media, big tech, and others is just getting started. This is the
greatest in history. There’s never been a movement like that.

You look back there all the way to the Washington Monument. It’s hard to believe.
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We must stop the steal and then we must ensure that such outrageous election fraud never happens
again, can never be allowed to happen again.

But we’re going forward. We'll take care of going forward. We've got to take care of going back. Don’t
let them talk. OK, well, we promised. I’ve had a lot of people. Sir, you’re at 96% for four years. | said I’m
not interested right now. I’m interested in right there.

With your help, we will finally pass powerful requirements for voter ID. You need an ID to cash a check.
You need an ID to go to a bank, to buy alcohol, to drive a car. Every person should need to show an ID in
order to cast your most important thing, a vote.

We will also require proof of American citizenship in order to vote in American elections. We just had a
good victory in court on that one, actually.

We will ban ballot harvesting and prohibit the use of unsecured drop boxes to commit rampant fraud.
These drop boxes are fraudulent. Therefore, they get disapp — they disappear, and then all of a sudden
they show up. It’s fraudulent.

We will stop the practice of universal unsolicited mail-in balloting.

We will clean up the voter rolls that ensure that every single person who casts a vote is a citizen of our
country, a resident of the state in which they vote and their vote is cast in a lawful and honest manner.

We will restore the vital civic tradition of in-person voting on Election Day so that voters can be fully
informed when they make their choice.

We will finally hold big tech accountable. And if these people had courage and guts, they would get rid
of Section 230, something that no other company, no other person in America, in the world has.

All of these tech monopolies are going to abuse their power and interfere in our elections, and it has to
be stopped. And the Republicans have to get a lot tougher, and so should the Democrats. They should
be regulated, investigated, and brought to justice under the fullest extent of the law. They’re totally
breaking the law.

Together, we will drain the Washington swamp and we will clean up the corruption in our nation’s
capital. We have done a big job on it, but you think it’s easy. It’s a dirty business. It’s a dirty business.
You have a lot of bad people out there.

Despite everything we’ve been through, looking out all over this country and seeing fantastic crowds.
Although this, | think, is our all-time record. | think you have 250,000 people. 250,000.

Looking out at all the amazing patriots here today, | have never been more confident in our nation’s
future. Well, | have to say, we have to be a little bit careful. That’s a nice statement, but we have to be a
little careful with that statement.

If we allow this group of people to illegally take over our country because it’s illegal when the votes are
illegal when the way they got there is illegal when the states that vote are given false and fraudulent
information.

We are the greatest country on Earth and we are headed and were headed in the right direction.
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You know, the wall is built. We’re doing record numbers at the wall. Now, they want to take down the
wall. Let’s let everyone flow in. Let’s let everybody flow in. We did a great job in the wall. Remember,
the wall, they said it could never be done. One of the largest infrastructure projects we’ve ever had in
this country, and it’s had a tremendous impact, that we got rid of catch and release. We got rid of all of
this stuff that we had to live with.

But now, the caravans, | think Biden’s getting in, the caravans are forming again. They want to come in
again and rip off our country. Can’t let it happen.

As this enormous crowd shows, we have truth and justice on our side. We have a deep and enduring
love for America in our hearts. We love our country.

We have overwhelming pride in this great country and we have it deep in our souls. Together, we are
determined to defend and preserve government of the people, by the people and for the people.

Our brightest days are before us. Our greatest achievements, still away.

I think one of our great achievements will be election security. Because nobody until | came along had
any idea how corrupt our elections were.

And again, most people would stand there at 9 o’clock in the evening and say | want to thank you very
much, and they go off to some other life. But | said something’s wrong here, something is really wrong,
can have happened.

And we fight. We fight like hell. And if you don’t fight like hell, you’re not going to have a country
anymore.

Our exciting adventures and boldest endeavors have not yet begun. My fellow Americans, for our
movement, for our children, and for our beloved country.

And | say this despite all that’s happened. The best is yet to come.

So we’re going to, we’re going to walk down Pennsylvania Avenue. | love Pennsylvania Avenue. And
we’re going to the Capitol, and we’re going to try and give.

The Democrats are hopeless, they never vote for anything. Not even one vote. But we’re going to try
and give our Republicans, the weak ones because the strong ones don’t need any of our help. We’re
going to try and give them the kind of pride and boldness that they need to take back our country.

So let’s walk down Pennsylvania Avenue.
| want to thank you all. God bless you and God Bless America.

Thank you all for being here. This is incredible. Thank you very much. Thank you.
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Exhibit B
AUTHENTICATED
US; GOVENNMENT
INFORMATION

GPO

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H. Res. 24

In the House of Representatives, U. S.,
January 13, 2021.

Impeaching Donald John Trump, President of
the United States, for high crimes and mis-
demeanors.

Resolved, That Donald John Trump, President of the
United States, is impeached for high crimes and mis-
demeanors and that the following article of impeachment be
exhibited to the United States Senate:

Article of impeachment exhibited by the House of Rep-
resentatives of the United States of America in the name of
itself and of the people of the United States of America,
against Donald John Trump, President of the United States
of America, in maintenance and support of its impeachment

against him for high crimes and misdemeanors.

ARTICLE I: INCITEMENT OF INSURRECTION
The Constitution provides that the House of Representa-
tives ‘‘shall have the sole Power of Impeachment”’ and that
the President ‘‘shall be removed from Office on Impeachment
for, and Conviction of, Treason, Bribery, or other high

Crimes and Misdemeanors’. Further, section 3 of the 14th
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Amendment to the Constitution prohibits any person who has

“engaged in insurrection or rebellion against” the United
States from “hold[ing] any office . .. under the United
States”. In his conduct while President of the United
States—and in violation of his constitutional oath faithfully
to execute the office of President of the United States and,
to the best of his ability, preserve, protect, and defend the
Constitution of the United States, and in violation of his con-
stitutional duty to take care that the laws be faithfully exe-
cuted—Donald John Trump engaged in high Crimes and
Misdemeanors by inciting violence against the Government of
the United States, in that:

On January 6, 2021, pursuant to the 12th Amendment
to the Constitution of the United States, the Vice President
of the United States, the House of Representatives, and the
Senate met at the United States Capitol for a Joint Session
of Congress to count the votes of the Electoral College. In the
months preceding the Joint Session, President Trump repeat-
edly issued false statements asserting that the Presidential
election results were the product of widespread fraud and
should not be accepted by the American people or certified
by State or Federal officials. Shortly before the Joint Session
commenced, President Trump, addressed a crowd at the El-
lipse in Washington, DC. There, he reiterated false claims

that “we won this election, and we won it by a landslide”.

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3

He also willfully made statements that, in context, encour-
aged—and foreseeably resulted in—lawless action at the Cap-
itol, such as: “if you don’t fight like hell you’re not going to
have a country anymore”. Thus incited by President Trump,
members of the crowd he had addressed, in an attempt to,
among other objectives, interfere with the Joint Session’s sol-
emn constitutional duty to certify the results of the 2020
Presidential election, unlawfully breached and vandalized the
Capitol, injured and killed law enforcement personnel, men-
aced Members of Congress, the Vice President, and Congres-
sional personnel, and engaged in other violent, deadly, de-
structive, and seditious acts.

President Trump’s conduct on January 6, 2021, fol-
lowed his prior efforts to subvert and obstruct the certifi-
cation of the results of the 2020 Presidential election. Those
prior efforts included a phone call on January 2, 2021, dur-
ing which President Trump urged the secretary of state of
Georgia, Brad Raffensperger, to “find’’ enough votes to over-
turn the Georgia Presidential election results and threatened
Secretary Raffensperger if he failed to do so.

In all this, President Trump gravely endangered. the se-
curity of the United States and its institutions of Govern-
ment. He threatened the integrity of the democratic system,
interfered with the peaceful transition of power, and imper-

iled a coequal branch of Government. He thereby betrayed his

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4
trust as President, to the manifest injury of the people of the

United States.

Wherefore, Donald John Trump, by such conduct, has
demonstrated that he will remain a threat to national secu-
rity, democracy, and the Constitution if allowed to remain in
office, and has acted in a manner grossly incompatible with
self-governance and the rule of law. Donald John Trump thus
warrants impeachment and trial, removal from office, and
disqualification to hold and enjoy any office of honor, trust,

or profit under the United States.

Speaker of the House of Representatives.

Attest:

Clerk.

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Exhibit C
 

Jason Donner @
@jason_donner

Chuck Schumer on Trump
impeachment trial:

- “Sweeping under the rug
will not bring unity...you need
truth and accountability.”

- House Managers will bring
a “very strong case” & says
some of it will be new.

- Urges GOP colleagues to
take a real look at the
evidence.

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Exhibit D
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| of 4

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Home / American Flags Blog / Patriotic Decorating. / Flagpole Finials - Decorative Ornaments for Your Indoor Flag Pole

Flagpole Finials - Decorative Ornaments for Your Indoor Flag
Pole

Posted: june 25, 2017 | Categories: Patriotic Decorating

With the 4" of July quickly approaching, it’s time to raise our flags in honor of our forefathers before us
who declared our independence from Great Britain. All around the country, we are firing up the grill and
gathering together to watch fireworks, but what about our grand old flag? If you have an indoor flag
that's looking neglected, the addition of a flagpole finial is a fine way to pay your respects to our nation’s
beginnings. Flagpole finials are the decorative ornaments that are placed at the top of the flagpole.
Finials can also serve to protect outdoor hollow flagpoles from the rain or be used to hold pulleys, which
allow the flag to be raised and lowered.

Flag Etiquette and Finials

A National Flag Code was created on Flag Day, which was on June 14, 1923, to provide regulations as to
the proper exhibition of the American flag. Flag etiquette includes many obvious guidelines. For
example, most of us know the flag should never be flown upside down, except to indicate an
emergency. However, some rules may not be as well-known. Flag etiquette for flags hung on the wall
requires the stars be positioned at the top of the flag. For those of you who display your flags on an
indoor flagpole, your flag should always have its place without the presence of other flags surrounding
it. Despite these specifics, the National Flag Code is flexible when it comes to the use of finials, No law
inhibits the use of any finial atop a flagpole, and the style of the finial is left to the owner's discretion.
Common flagpole finials include the eagle, the spear and the gold ball.

The Eagle
The eagle has a long history of representing freedom in the United States. The symbol of our national

bird dates to 1782 after Congress set out to officiate a new national seal. Charles Thomson is credited
with the idea of the bald eagle, which is native to North America.

Privacy - Terms

2/5/2021, 7:33 AM
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Flagpole Finials - Decorative Ornaments for Your Indoor Flag Pole https://www.americanflags.com/blog/post/flagpole-finials-decorative...

2 of 4

 

Interestingly, Benjamin Franklin was opposed to the
bald eagle, arguing the bird was lazy in its pursuits because they prefer to scavenge if the opportunity
presents itself instead of hunt for themselves. Franklin believed the turkey better represented American
history and courage. Luckily, Congress accepted the bald eagle, which can be seen on our currency, the
Great Seal of the United States and in artwork throughout the country to express patriotism. The eagle's
majesty and power have become a fitting symbol of American pride. Wherever the eagle is displayed, it
means only one thing to all Americans: freedom. The eagle finial is atop the flagpoles in the offices of
the President and Vice President, and the United States Army considers this flagpole finial the only one
appropriate for Presidential flagpoles. It comes in many different styles, including detailed depictions, as
well as traditional eagle designs.

The Spear

The image of the spear dates to the Native Americans who used it for war and
hunting. Spears carry a connotation of bravery and were also used in ceremonies to be given to the
warriors of great courage. This idea is the significance communicated through a spear finial, which gives
the flag a strong and bold appearance. The spear used by the United States Army is flat with two wings
extending perpendicular to the central spearhead. Other styles include the more traditional Native
American design that only contains the central point. The spear usually comes in silver or gold and is the
only finial used by the United States Army when flying the Army's flag. It has a long, rich history that has
carried into present day, representing the heroism of our past and the fearlessness towards our future.

The Gold Ball

2/5/2021, 7:33 AM
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Flagpole Finials - Decorative Ornaments for Your Indoor Flag Pole https://www.americanflags.com/blog/post/flagpole-finials-decorative...

 

There is a myth that a gold ball finial at the top of a
flagpole contains items that could be used against an attacker should the flag be under siege. It is
rumored to contain weapons like a match, razor or bullet to aid in defense of the flag. Another
suggestion is that the sphere contains a symbolic item, like a penny which stands for American
economic strength. Although these beliefs have been proven false, the gold ball is a classic finial that
gives your flagpole an elegant appearance. Some prefer the gold ball over other figures for an outside
flagpole because the flag is unable to catch on sharp edges if being blown by high winds. For indoor
flags, it gives a respectable and conservative look for those aiming for a more traditional style.

 

Final Thoughts

All the above finials are appropriate and commemorate our nation’s history along with the star-
spangled banner they adorn. Independence Day is a national flag flying holiday when all Americans,
civilians and U.S. military members both stand together in honor of our country’s fight for life, liberty
and the pursuit of happiness. This July 4th, be sure to remember your American flag, which stands in
the corner of your household, silent but proud.

« Previous Next —

3 of 4 2/5/2021, 7:33 AM
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Exhibit E
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that you could teach? What if the secrets of the Earth
were put in your hands? What if you could control

 

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Exhibit F
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Exhibit G
  

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Exhibit H
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https://www.cnn.com/2021/02/13/politics/mcconnell-remarks-trump-acquittal/index.html
Mitch McConnell’s February 13, 2021 Speech
"January 6th was a disgrace.

"American citizens attacked their own government. They used terrorism to try to stop a specific piece of
democratic business they did not like.

"Fellow Americans beat and bloodied our own police. They stormed the Senate floor. They tried to hunt
down the Speaker of the House. They built a gallows and chanted about murdering the Vice President.

"They did this because they had been fed wild falsehoods by the most powerful man on Earth —
because he was angry he'd lost an election.

"Former President Trump's actions preceding the riot were a disgraceful dereliction of duty.

"The House accused the former President of, quote, 'incitement.' That is a specific term from the
criminal law.

"Let me put that to the side for one moment and reiterate something | said weeks ago: There is no
question that President Trump is practically and morally responsible for provoking the events of that
day.

"The people who stormed this building believed they were acting on the wishes and instructions of their
President.

"And their having that belief was a foreseeable consequence of the growing crescendo of false
statements, conspiracy theories, and reckless hyperbole which the defeated President kept shouting
into the largest megaphone on planet Earth.

"The issue is not only the President's intemperate language on January 6th.
"It is not just his endorsement of remarks in which an associate urged ‘trial by combat.’

"It was also the entire manufactured atmosphere of looming catastrophe; the increasingly wild myths
about a reverse landslide election that was being stolen in some secret coup by our now-President.

"| defended the President's right to bring any complaints to our legal system. The legal system spoke.
The Electoral College spoke. As | stood up and said clearly at the time, the election was settled.

"But that reality just opened a new chapter of even wilder and more unfounded claims.

"The leader of the free world cannot spend weeks thundering that shadowy forces are stealing our
country and then feign surprise when people believe him and do reckless things.

"Sadly, many politicians sometimes make overheated comments or use metaphors that unhinged
listeners might take literally.

"This was different.

"This was an intensifying crescendo of conspiracy theories, orchestrated by an outgoing president who
seemed determined to either overturn the voters' decision or else torch our institutions on the way out.
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"The unconscionable behavior did not end when the violence began.

"Whatever our ex-President claims he thought might happen that day... whatever reaction he says he
meant to produce... by that afternoon, he was watching the same live television as the rest of the world.

"A mob was assaulting the Capitol in his name. These criminals were carrying his banners, hanging his
flags, and screaming their loyalty to him.

"It was obvious that only President Trump could end this.
"Former aides publicly begged him to do so. Loyal allies frantically called the Administration.

"But the President did not act swiftly. He did not do his job. He didn't take steps so federal law could be
faithfully executed, and order restored.

“Instead, according to public reports, he watched television happily as the chaos unfolded. He kept
pressing his scheme to overturn the election!

"Even after it was clear to any reasonable observer that Vice President Pence was in danger... even as
the mob carrying Trump banners was beating cops and breaching perimeters... the President sent a
further tweet attacking his Vice President.

"Predictably and foreseeably under the circumstances, members of the mob seemed to interpret this as
further inspiration to lawlessness and violence.

"Later, even when the President did halfheartedly begin calling for peace, he did not call right away for
the riot to end. He did not tell the mob to depart until even later.

"And even then, with police officers bleeding and broken glass covering Capitol floors, he kept repeating
election lies and praising the criminals.

"In recent weeks, our ex-President's associates have tried to use the 74 million Americans who voted to
re-elect him as a kind of human shield against criticism.

"Anyone who decries his awful behavior is accused of insulting millions of voters.

"That is an absurd deflection.

"74 million Americans did not invade the Capitol. Several hundred rioters did.

"And 74 million Americans did not engineer the campaign of disinformation and rage that provoked it.
"One person did.

"| have made my view of this episode very plain.

"But our system of government gave the Senate a specific task. The Constitution gives us a particular
role.

"This body is not invited to act as the nation’s overarching moral tribunal.

"We are not free to work backward from whether the accused party might personally deserve some kind
of punishment.
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"Justice Joseph Story was our nation's first great constitutional scholar. As he explained nearly 200 years
ago, the process of impeachment and conviction is a narrow tool for a narrow purpose.

"Story explained this limited tool exists to "secure the state against gross official misdemeanors." That
is, to protect the country from government officers.

"If President Trump were still in office, | would have carefully considered whether the House managers
proved their specific charge.

"By the strict criminal standard, the President's speech probably was not incitement.

"However, in the context of impeachment, the Senate might have decided this was acceptable
shorthand for the reckless actions that preceded the riot.

"But in this case, that question is moot. Because former President Trump is constitutionally not eligible
for conviction.

"There is no doubt this is a very close question. Donald Trump was the President when the House voted,
though not when the House chose to deliver the papers.

"Brilliant scholars argue both sides of the jurisdictional question. The text is legitimately ambiguous. |
respect my colleagues who have reached either conclusion.

"But after intense reflection, | believe the best constitutional reading shows that Article II, Section 4
exhausts the set of persons who can legitimately be impeached, tried, or convicted. The President, Vice
President, and civil officers.

"We have no power to convict and disqualify a former officeholder who is now a private citizen.
"Here is Article Il, Section 4:

"The President, Vice President and all civil Officers of the United States, shall be removed from Office on
Impeachment for, and Conviction of, Treason, Bribery, or other high Crimes and Misdemeanors.”

"Now, everyone basically agrees that the second half of that sentence exhausts the legitimate grounds
for conviction.

"The debates around the Constitution's framing make that clear. Congress cannot convict for reasons
besides those.

"It therefore follows that the list of persons in that same sentence is also exhaustive. There is no reason
why one list would be exhaustive but the other would not.

"Article Il, Section 4 must limit both why impeachment and conviction can occur... and to whom.
"If this provision does not limit the impeachment and conviction powers, then it has no limits at all.

"The House's ‘sole power of Impeachment’ and the Senate's 'sole Power to try all Impeachments’ would
create an unlimited circular logic, empowering Congress to ban any private citizen from federal office.

"This is an incredible claim. But it is the argument the House Managers seemed to make. One Manager
said the House and Senate have ‘absolute, unqualified... jurisdictional power.’
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"That was very honest. Because there is no limiting principle in the constitutional text that would
empower the Senate to convict former officers that would not also let them convict and disqualify any
private citizen.

"An absurd end result to which no one subscribes.

"Article ll, Section 4 must have force. It tells us the President, Vice President, and civil officers may be
impeached and convicted. Donald Trump is no longer the president.

"Likewise, the provision states that officers subject to impeachment and conviction ‘shall be removed
from Office’ if convicted.

"Shall.

"As Justice Story explained, ‘the Senate, [upon] conviction, [is] bound, in all cases, to enter a judgment
of removal from office.’ Removal is mandatory upon conviction.

"Clearly, he explained, that mandatory sentence cannot be applied to somebody who has left office.

"The entire process revolves around removal. If removal becomes impossible, conviction becomes
insensible.

"In one light, it certainly does seem counterintuitive that an officeholder can elude Senate conviction by
resignation or expiration of term.

"But this just underscores that impeachment was never meant to be the final forum for American
justice.

"Impeachment, conviction, and removal are a specific intra-governmental safety valve. It is not the
criminal justice system, where individual accountability is the paramount goal.

"Indeed, Justice Story specifically reminded that while former officials were not eligible for
impeachment or conviction, they were "still liable to be tried and punished in the ordinary tribunals of
justice."

"We have a criminal justice system in this country. We have civil litigation. And former Presidents are
not immune from being held accountable by either one.

"| believe the Senate was right not to grab power the Constitution does not give us.

"And the Senate was right not to entertain some light-speed sham process to try to outrun the loss of
jurisdiction.

"It took both sides more than a week just to produce their pre-trial briefs. Speaker Pelosi's own
scheduling decisions conceded what President Biden publicly confirmed: A Senate verdict before
Inauguration Day was never possible.

"This has been a dispiriting time. But the Senate has done our duty. The framers’ firewall held up again.

"On January 6th, we returned to our posts and certified the election, uncowed.
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"And since then, we resisted the clamor to defy our own constitutional guardrails in hot pursuit of a
particular outcome.

"We refused to continue a cycle of recklessness by straining our own constitutional boundaries in
response.

"The Senate's decision does not condone anything that happened on or before that terrible day.
"It simply shows that Senators did what the former President failed to do:

“We put our constitutional duty first."
